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                                                                          APPEAL,CAP,CAT B,HSD

                                    U.S. District Court
                         District of Columbia (Washington, DC)
                  CRIMINAL DOCKET FOR CASE #: 1:22-cr-00015-APM-3


Case title: USA v. RHODES, III et al                     Date Filed: 01/12/2022


Assigned to: Judge Amit P. Mehta
Appeals court case number: 23-3089

Defendant (3)
KENNETH HARRELSON                           represented by Bradford L Geyer
                                                           FORMERFEDSGROUP.COM LCC
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                                                           ATTORNEY TO BE NOTICED
                                                           Designation: Retained

                                                          David William Fischer , Sr.
                                                          FISCHER & PUTZI, P.A.
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Pending Counts                                            Disposition
18:2384; SEDITIOUS CONSPIRACY;
Seditious Conspiracy
(1)
18 U.S.C. 2384; SEDITIOUS
CONSPIRACY; Seditious Conspiracy                          Jury Verdict of Not Guilty on 11/29/2022.
(1s)
18:1512(k); TAMPERING WITH
WITNESS, VICTIM, OR AN
INFORMANT; Conspiracy to Obstruct an
Official Proceeding
(2)
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18 U.S.C. 1512(k); TAMPERING WITH
WITNESS, VICTIM, OR AN
INFORMANT; Conspiracy to Obstruct an                         Jury Verdict of Not Guilty on 11/29/2022.
Official Proceeding
(2s)
18:1512(c)(2), 2; TAMPERING WITH A
WITNESS, VICTIM OR INFORMANT;
Obstruction of an Official Proceeding and
Aiding and Abetting
(3)
                                                             Sentenced to 48 months of incarceration
18 U.S.C. 1512(c)(2), 2; TAMPERING                           followed by 24 months of supervised
WITH A WITNESS, VICTIM OR                                    release. These terms of incarceration and
INFORMANT; Obstruction of an Official                        supervised release shall run concurrently
Proceeding and Aiding and Abetting                           with those imposed as to Counts 4s and 9s.
(3s)                                                         Special assessment imposed on this count in
                                                             the amount of $100.
18:372; CONSPIRE TO IMPEDE OR
INJURE OFFICER; Conspiracy to Prevent
an Officer from Discharging Any Duties
(4)
                                                             Sentenced to 48 months of incarceration
18 U.S.C. 372; CONSPIRE TO IMPEDE                            followed by 24 months of supervised
OR INJURE OFFICER; Conspiracy to                             release. These terms of incarceration and
Prevent an Officer from Discharging Any                      supervised release shall run concurrently
Duties                                                       with those imposed as to Counts 3s and 9s.
(4s)                                                         Special assessment imposed on this count in
                                                             the amount of $100.
18:1361, 2; GOVERNMENT PROPERTY
OR CONTRACTS; Destruction of
Government Property and Aiding and
Abetting
(5)
18 U.S.C. 1361, 2; GOVERNMENT
PROPERTY OR CONTRACTS >;
Destruction of Government Property and                       Jury Verdict of Not Guilty on 11/29/2022.
Aiding and Abetting
(5s)
                                                             Sentenced to 48 months of incarceration
                                                             followed by 24 months of supervised
18 U.S.C. 1512(c)(1); TAMPERING WITH
                                                             release. These terms of incarceration and
A WITNESS, VICTIM OR INFORMANT;
                                                             supervised release shall run concurrently
Tampering with Documents or Proceedings
                                                             with those imposed as to Counts 3s and 4s.
(9s)
                                                             Special assessment imposed on this count in
                                                             the amount of $100.
18:1512(c)(1); TAMPERING WITH A
WITNESS, VICTIM OR INFORMANT;
Tampering with Documents or Proceedings
(11)
             Case 1:22-cr-00015-APM   Document 669    Filed 07/14/23    Page 3 of 55

Highest Offense Level (Opening)
Felony

Terminated Counts                                        Disposition
None

Highest Offense Level (Terminated)
None

Complaints                                               Disposition
None



Interested Party
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             Case 1:22-cr-00015-APM   Document 669     Filed 07/14/23     Page 4 of 55


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             Case 1:22-cr-00015-APM      Document 669      Filed 07/14/23 Page 5 of 55
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Date Filed        #      Docket Text
01/12/2022            1 SEALED INDICTMENT as to ELMER STEWART RHODES, III (1) count(s) 1, 2,
                        3, 4, 9, KELLY MEGGS (2) count(s) 1, 2, 3, 4, 5, 10, KENNETH HARRELSON
                        (3) count(s) 1, 2, 3, 4, 5, 11, JESSICA WATKINS (4) count(s) 1, 2, 3, 4, 5, 6,
                        JOSHUA JAMES (5) count(s) 1, 2, 3, 4, 7, 8, 12, ROBERTO A. MINUTA (6)
                        count(s) 1, 2, 3, 4, 13, JOSEPH HACKETT (7) count(s) 1, 2, 3, 4, 5, 14, DAVID
                        MOERSCHEL (8) count(s) 1, 2, 3, 4, 5, 15, BRIAN ULRICH (9) count(s) 1, 2, 3, 4,
                        16, THOMAS EDWARD CALDWELL (10) count(s) 1, 2, 3, 4, 17, EDWARD
                        VALLEJO (11) count(s) 1, 2, 3, 4. (bb) (Entered: 01/14/2022)
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01/12/2022           3 MOTION to Seal Case by USA as to ELMER STEWART RHODES, III(1), KELLY
                       MEGGS(2), KENNETH HARRELSON(3), JESSICA WATKINS(4), JOSHUA
                       JAMES(5), ROBERTO A. MINUTA(6), JOSEPH HACKETT(7), DAVID
                       MOERSCHEL(8), BRIAN ULRICH(9), THOMAS EDWARD CALDWELL(10),
                       EDWARD VALLEJO(11). (Attachments: # 1 Text of Proposed Order)(bb) (Entered:
                       01/14/2022)
01/12/2022           4 ORDER granting 3 Motion to Seal Case as to ELMER STEWART RHODES III (1),
                       KELLY MEGGS (2), KENNETH HARRELSON (3), JESSICA WATKINS (4),
                       JOSHUA JAMES (5), ROBERTO A. MINUTA (6), JOSEPH HACKETT (7),
                       DAVID MOERSCHEL (8), BRIAN ULRICH (9), THOMAS EDWARD
                       CALDWELL (10), EDWARD VALLEJO (11). Signed by Judge Amit P. Mehta on
                       1/12/2022. (bb) (Entered: 01/14/2022)
01/13/2022              Case unsealed as to ELMER STEWART RHODES, III(1), KELLY MEGGS(2),
                        KENNETH HARRELSON(3), JESSICA WATKINS(4), JOSHUA JAMES(5),
                        ROBERTO A. MINUTA(6), JOSEPH HACKETT(7), DAVID MOERSCHEL(8),
                        BRIAN ULRICH(9), THOMAS EDWARD CALDWELL(10), EDWARD
                        VALLEJO(11). (bb) (Entered: 01/14/2022)
01/18/2022           7 MOTION for Order to Adopt the Record of Case No. 21-cr-28 by USA as to
                       ELMER STEWART RHODES, III, KELLY MEGGS, KENNETH HARRELSON,
                       JESSICA WATKINS, JOSHUA JAMES, ROBERTO A. MINUTA, JOSEPH
                       HACKETT, DAVID MOERSCHEL, BRIAN ULRICH, THOMAS EDWARD
                       CALDWELL, EDWARD VALLEJO. (Attachments: # 1 Text of Proposed Order)
                       (Nestler, Jeffrey) (Entered: 01/18/2022)
01/19/2022           8 ORDER granting 7 Motion for Order as to ELMER STEWART RHODES III (1),
                       KELLY MEGGS (2), KENNETH HARRELSON (3), JESSICA WATKINS (4),
                       JOSHUA JAMES (5), ROBERTO A. MINUTA (6), JOSEPH HACKETT (7),
                       DAVID MOERSCHEL (8), BRIAN ULRICH (9), THOMAS EDWARD
                       CALDWELL (10), EDWARD VALLEJO (11). The court hereby adopts the record
                       in case 21-cr-28-APM through January 12, 2022, as the record in the instant case.
                       See attached Order for additional details. Signed by Judge Amit P. Mehta on
                       1/19/2022. (lcapm1) (Entered: 01/19/2022)
01/20/2022           9 NOTICE of Certification in Response to Court's December 23, 2021 Order by USA
                       as to ELMER STEWART RHODES, III, KELLY MEGGS, KENNETH
                       HARRELSON, JESSICA WATKINS, JOSHUA JAMES, ROBERTO A. MINUTA,
                       JOSEPH HACKETT, DAVID MOERSCHEL, BRIAN ULRICH, THOMAS
                       EDWARD CALDWELL, EDWARD VALLEJO (Nestler, Jeffrey) (Entered:
                       01/20/2022)
01/21/2022              MINUTE ORDER. The parties in this newly indicted matter shall appear for a
                        consolidated status conference with case 21-cr-28, as previously scheduled, on
                        Tuesday, January 25, 2022, at 11:00 a.m. Arrangements are being made for detained
                        defendants to participate remotely. The courtroom deputy will circulate
                        teleconference information to counsel and non-detained defendants. Members of the
                        public may access the conference by dialing the court's toll-free public access line:
                        (877) 848-7030, access code 321-8747. The public access line will be muted and
                        should only be used by non-participating parties. Signed by Judge Amit P. Mehta on
                        1/21/2022. (lcapm1) (Entered: 01/21/2022)
01/24/2022              NOTICE OF HEARING as to ELMER STEWART RHODES, III (1), KELLY
                        MEGGS (2), KENNETH HARRELSON (3), JESSICA WATKINS (4), JOSHUA
                        JAMES (5), ROBERTO A. MINUTA (6), JOSEPH HACKETT (7), DAVID
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                         MOERSCHEL (8), BRIAN ULRICH (9), THOMAS EDWARD CALDWELL (10):
                         Arraignment set for 1/25/2022 at 11:00 AM via videoconference before Judge Amit
                         P. Mehta. Members of the public may access the conference by dialing the
                         court's toll-free public access line: (877) 848-7030, access code 321-8747.(zjd)
                         (Entered: 01/24/2022)
01/25/2022                Minute Entry for proceedings held before Judge Amit P. Mehta: Arraignment as to
                          ELMER STEWART RHODES III (1), KELLY MEGGS (2), KENNETH
                          HARRELSON (3), JESSICA WATKINS (4), JOSHUA JAMES (5), ROBERTO A.
                          MINUTA (6), JOSEPH HACKETT (7), DAVID MOERSCHEL (8), BRIAN
                          ULRICH (9), and THOMAS EDWARD CALDWELL (10) held via
                          videoconference on 1/25/2022. Plea of Not Guilty by ELMER STEWART
                          RHODES III (1) as to Counts 1, 2, 3, 4, and 9. Plea of Not Guilty by KELLY
                          MEGGS (2) as to Counts 1, 2, 3, 4, 5, and 10. Plea of Not Guilty by KENNETH
                          HARRELSON (3) as to Counts 1, 2, 3, 4, 5, and 11. Plea of Not Guilty by JESSICA
                          WATKINS (4) as to Counts 1, 2, 3, 4, 5, and 6. Plea of Not Guilty by JOSHUA
                          JAMES (5) as to Counts 1, 2, 3, 4, 7, 8, and 12. Plea of Not Guilty by ROBERTO A.
                          MINUTA (6) as to Counts 1, 2, 3, 4, and 13. Plea of Not Guilty by JOSEPH
                          HACKETT (7) as to Counts 1, 2, 3, 4, 5, and 14. Plea of Not Guilty by DAVID
                          MOERSCHEL (8) as to Counts 1, 2, 3, 4, 5, and 15. Plea of Not Guilty by BRIAN
                          ULRICH (9) as to Counts 1, 2, 3, 4, and 16. Plea of Not Guilty by THOMAS
                          EDWARD CALDWELL (10) as to Counts 1, 2, 3, 4, and 17. In the interests of
                          justice, and for the reasons stated on the record, the time from 1/26/2022 through
                          and including 3/4/2022 shall be excluded in computing the date for speedy trial in
                          this case. Status Conference set for 3/4/2022 at 1:00 PM via videoconference before
                          Judge Amit P. Mehta. Jury Trial set for 7/11/2022 at 9:30 AM in Ceremonial
                          Courtroom before Judge Amit P. Mehta. Second Jury Trial set for 9/26/2022 at 9:30
                          AM in Ceremonial Courtroom before Judge Amit P. Mehta. Members of the public
                          may access the hearings by dialing the court's toll-free public access line: (877)
                          848-7030, access code 321-8747. Bond Status of Defendants: Rhodes (1) remains
                          in-custody, Meggs (2) remains in-custody, Harrelson (3) remains in-custody,
                          Watkins (4) remains in-custody, James (5) placed on PR/HISP, Minuta (6) placed on
                          PR/HISP, Hackett (7) placed on PR/HISP, Moerschel (8) placed on personal
                          recognizance, Ulrich (9) placed on personal recognizance, Caldwell (10) placed on
                          PR/HISP; Court Reporter: William Zaremba; Defense Attorneys: Philip Linder (1),
                          Jonathan Moseley (2), Bradford Geyer (3), Jonathan Crisp (4), Joan Robin (5),
                          Chris Leibig (5), Alfred Guillaume (6), Angie Halim (7), Scott Weinberg (9), A.J.
                          Balbo (9), David Fischer (10); US Attorneys: Kathryn Rakoczy and Jeffrey Nestler;
                          Pretrial Officer: Christine Schuck. (zjd) (Entered: 01/26/2022)
02/10/2022           44 STATUS REPORT REGARDING DISCOVERY by USA as to ELMER STEWART
                        RHODES, III, KELLY MEGGS, KENNETH HARRELSON, JESSICA WATKINS,
                        JOSHUA JAMES, ROBERTO A. MINUTA, JOSEPH HACKETT, DAVID
                        MOERSCHEL, BRIAN ULRICH, THOMAS EDWARD CALDWELL, EDWARD
                        VALLEJO (Rakoczy, Kathryn) (Entered: 02/10/2022)
03/04/2022                Minute Entry for proceedings held before Judge Amit P. Mehta: Status Conference
                          as to ELMER STEWART RHODES, III (1), KELLY MEGGS (2), KENNETH
                          HARRELSON (3), JESSICA WATKINS (4), ROBERTO A. MINUTA (6), JOSEPH
                          HACKETT (7), DAVID MOERSCHEL (8), BRIAN ULRICH (9), THOMAS
                          EDWARD CALDWELL (10), EDWARD VALLEJO (11) held via videoconference
                          on 3/4/2022. Defendant Vallejo (11) was not present for these proceedings. In the
                          interests of justice, and for the reasons stated on the record, the time from 3/5/2022
                          through and including 4/8/2022 shall be excluded in computing the date for speedy
                          trial in this case. Status Conference set for 4/8/2022 at 10:00 AM via
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                         videoconference before Judge Amit P. Mehta. Members of the public may access
                         the hearings by dialing the court's toll-free public access line: (877) 848-7030,
                         access code 321-8747. Bond Status of Defendants: Rhodes (1) remains in-custody,
                         Meggs (2) remains in-custody, Harrelson (3) remains in-custody, Watkins (4)
                         remains in-custody, Minuta (6) placed on PR/HISP, Hackett (7) placed on PR/HISP,
                         Moerschel (8) placed on personal recognizance, Ulrich (9) placed on personal
                         recognizance, Caldwell (10) placed on PR/HISP; Court Reporter: William Zaremba;
                         Defense Attorneys: Philip Linder (1), James Bright (1), Jonathan Moseley (2),
                         Bradford Geyer (3), Jonathan Crisp (4), Alfred Guillaume (6), Angie Halim (7),
                         Scott Weinberg (8), A.J. Balbo (9), David Fischer (10); Matthew Peed (11) US
                         Attorneys: Kathryn Rakoczy and Jeffrey Nestler; Pretrial Officer: Christine Schuck.
                         (zjd) (Entered: 03/04/2022)
03/11/2022                MINUTE ORDER. The 39 court order requiring Defendant ELMER STEWART
                          RHODES, III (1), to remain at his present facility in Oklahoma is hereby lifted. The
                          U.S. Marshals Service may move Defendant Rhodes to a facility that it determines
                          to be appropriate. Signed by Judge Amit P. Mehta on 3/11/2022. (lcapm1) (Entered:
                          03/11/2022)
03/15/2022            64 ORDER as to Defendants ELMER STEWART RHODES, III, KELLY MEGGS,
                         KENNETH HARRELSON, JESSICA WATKINS, ROBERTO A. MINUTA,
                         JOSEPH HACKETT, DAVID MOERSCHEL, BRIAN ULRICH, THOMAS
                         EDWARD CALDWELL, and EDWARD VALLEJO. Trial is set to commence in
                         this matter on July 11, 2022, at 9:30 a.m. The following deadlines shall govern this
                         matter: (1) parties shall file their pretrial motions (other than motions in limine) on
                         or before April 15, 2022; (2) oppositions to pretrial motions shall be filed on or
                         before April 29, 2022; (3) replies to pretrial motions shall be filed on or before May
                         6, 2022; (4) counsel shall reserve May 17, 2022, at 1:00 p.m. for a hearing on
                         pretrial motions, if necessary; (5) the United States shall make any required expert
                         disclosures by May 23, 2022; (6) Defendants shall make any required reciprocal
                         expert disclosures by June 6, 2022; (7) the United States shall notify Defendant of
                         its intention to introduce any Rule 404(b) evidence not already disclosed on or
                         before June 13, 2022; (8) motions in limine shall be filed on or before June 3, 2022;
                         (9) oppositions to motions in limine shall be filed on or before June 17, 2022; (10)
                         replies in support of motions in limine shall be filed on or before June 24, 2022;
                         (11) any motions in limine by the United States shall be filed by June 16, 2022; (12)
                         oppositions to such motions shall be filed by June 24, 2022; (13) Defendants shall
                         satisfy their reciprocal discovery obligations, if any, by June 23, 2022; (14) the
                         United States shall file any motion in limine pursuant to such discovery by June 30,
                         2022; (15) oppositions to such motions shall be filed by July 6, 2022; (16) the
                         United States should endeavor to make grand jury and Jencks Act disclosures as to
                         each witness it expects to call in its case-in-chief and disclose any Brady material
                         not already disclosed on or before July 1, 2022; (17) the parties shall file a draft
                         Joint Juror Questionnaire by June 6, 2022; (18) qualified prospective jurors will
                         appear on June 27, 2022 to answer the finalized version of the Questionnaire; (19)
                         the parties' Joint Pretrial Statement is due on or before June 24, 2022; (20) the
                         parties shall submit a Word format copy of (a) any proposed modification to a
                         standard jury instruction, (b) any non-standard jury instruction, and (c) the verdict
                         form on or before June 24, 2022; and (21) the Pretrial Conference previously
                         scheduled for July 6, 2022, is hereby vacated and rescheduled for July 1, 2022, at
                         10:00 a.m. in Courtroom 10. See the attached Order for additional details. Signed by
                         Judge Amit P. Mehta on 3/15/2022. (lcapm1) (Entered: 03/15/2022)
03/19/2022            66 MOTION to Continue Trial by ROBERTO A. MINUTA as to ELMER STEWART
                         RHODES, III, KELLY MEGGS, KENNETH HARRELSON, JESSICA WATKINS,
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                         JOSHUA JAMES, ROBERTO A. MINUTA, JOSEPH HACKETT, DAVID
                         MOERSCHEL, BRIAN ULRICH, THOMAS EDWARD CALDWELL, EDWARD
                         VALLEJO. (Guillaume, Alfred) (Entered: 03/19/2022)
03/21/2022         67 RESPONSE by USA as to ELMER STEWART RHODES, III, KELLY MEGGS,
                      KENNETH HARRELSON, JESSICA WATKINS, JOSHUA JAMES, ROBERTO A.
                      MINUTA, JOSEPH HACKETT, DAVID MOERSCHEL, BRIAN ULRICH,
                      THOMAS EDWARD CALDWELL, EDWARD VALLEJO re 66 MOTION to
                      Continue Trial (Rakoczy, Kathryn) (Entered: 03/21/2022)
03/29/2022         68 ORDER denying 65 Motion to Continue Deadline for Filing Rule 12(b) Motions
                      and denying 66 Motion to Continue Trial. See the attached Order for additional
                      details. Signed by Judge Amit P. Mehta on 3/29/2022. (lcapm1) (Entered:
                      03/29/2022)
04/07/2022         76 TRANSCRIPT OF STATUS CONFERENCE PROCEEDINGS in case as to
                      ELMER STEWART RHODES, III, KELLY MEGGS, KENNETH HARRELSON,
                      JESSICA WATKINS, ROBERTO A. MINUTA, JOSEPH HACKETT, DAVID
                      MOERSCHEL, BRIAN ULRICH, THOMAS EDWARD CALDWELL, EDWARD
                      VALLEJO before Judge Amit P. Mehta held on March 4, 2022; Page Numbers: 1-
                      72. Date of Issuance: April 7, 2022. Court Reporter/Transcriber: William Zaremba;
                      Telephone number: (202) 354-3249. Transcripts may be ordered by submitting the
                      Transcript Order Form

                       For the first 90 days after this filing date, the transcript may be viewed at the
                       courthouse at a public terminal or purchased from the court reporter referenced
                       above. After 90 days, the transcript may be accessed via PACER. Other transcript
                       formats, (multi-page, condensed, PDF or ASCII) may be purchased from the court
                       reporter.

                       NOTICE RE REDACTION OF TRANSCRIPTS: The parties have twenty-one
                       days to file with the court and the court reporter any request to redact personal
                       identifiers from this transcript. If no such requests are filed, the transcript will be
                       made available to the public via PACER without redaction after 90 days. The policy,
                       which includes the five personal identifiers specifically covered, is located on our
                       website at www.dcd.uscourts.gov.

                       Redaction Request due 4/28/2022. Redacted Transcript Deadline set for 5/8/2022.
                       Release of Transcript Restriction set for 7/6/2022.(wz) (Main Document 76 replaced
                       on 4/22/2022) (zltp). (Entered: 04/07/2022)
04/08/2022         79 ORDER granting 73 Unopposed Motion to Modify Conditions of Release as to
                      THOMAS EDWARD CALDWELL (10). See the attached Order for additional
                      details. Signed by Judge Amit P. Mehta on 4/7/2022. (lcapm1) (Entered:
                      04/08/2022)
04/08/2022             Minute Entry for proceedings held before Judge Amit P. Mehta: Status Conference
                       as to ELMER STEWART RHODES, III (1), KELLY MEGGS (2), KENNETH
                       HARRELSON (3), JESSICA WATKINS (4), ROBERTO A. MINUTA (6), JOSEPH
                       HACKETT (7), DAVID MOERSCHEL (8), BRIAN ULRICH (9), THOMAS
                       EDWARD CALDWELL (10), EDWARD VALLEJO (11) held via videoconference
                       on 4/8/2022. In the interests of justice, and for the reasons stated on the record, the
                       time from 4/9/2022 through and including 7/11/2022 shall be excluded in
                       computing the date for speedy trial as to defendants HARRELSON (3), WATKINS
                       (4), HACKETT (7), MOERSCHEL (8), and CALDWELL (10). In the interests of
                       justice, and for the reasons stated on the record, the time from 4/9/2022 through and
             Case 1:22-cr-00015-APM Document 669 Filed 07/14/23 Page 10 of 55
                          including 9/26/222 shall be excluded in computing the date for speedy trial as to
                          RHODES (1), MEGGS (2), MINUTA (6), ULRICH (9), and VALLEJO (11). Status
                          Conference as to MEGGS (2) set for 4/22/2022 at 9:00 AM via videoconference
                          before Judge Amit P. Mehta. Status Conference as to HARRELSON (3), WATKINS
                          (4), HACKETT (7), MOERSCHEL (8), and CALDWELL (10) set for 5/6/2022 at
                          1:00 PM via videoconference before Judge Amit P. Mehta. Status Conference as to
                          RHODES (1), MEGGS (2), MINUTA (6), ULRICH (9), and VALLEJO (11) set for
                          5/6/2022 at 02:30 PM via videoconference before Judge Amit P. Mehta. Members of
                          the public may access the hearings by dialing the court's toll-free public access line:
                          (877) 848-7030, access code 321-8747. Bond Status of Defendants: Rhodes (1)
                          remains in-custody, Meggs (2) remains in-custody, Harrelson (3) remains in-
                          custody, Watkins (4) remains in-custody, Minuta (6) remains on PR/HISP, Hackett
                          (7) remains on PR/HISP, Moerschel (8) remains on personal recognizance, Ulrich
                          (9) remains on personal recognizance, Caldwell (10) remains on PR/HISP, Vallejo
                          (11) remains in-custody; Court Reporter: William Zaremba; Defense Attorneys:
                          Philip Linder (1), Jonathan Moseley (2), Bradford Geyer (3), Jonathan Crisp (4),
                          Alfred Guillaume, III and William Shipley, Jr. (6), Angie Halim (7), Scott Weinberg
                          (8), A.J. Balbo (9), David Fischer (10), Matthew Peed (11); US Attorney: Kathryn
                          Rakoczy. (zjd) (Entered: 04/21/2022)
04/13/2022                  MINUTE ORDER. Counsel for Defendant KELLY MEGGS, Jonathon Moseley,
                            shall refrain from filing any additional motions on behalf of Defendant Meggs while
                            action on Mr. Moseley's bar status before this District Court remains pending. At
                            this juncture, Mr. Moseley remains only caretaker counsel until successor counsel
                            enters an appearance. The court will consider those motions already filed by Mr.
                            Moseley, but no more, absent exigent circumstances and leave of court. The court
                            will accommodate the need for additional time for Defendant Meggs to file Rule 12
                            motions upon entry of successor counsel. Signed by Judge Amit P. Mehta on
                            4/13/2022. (lcapm1) (Entered: 04/13/2022)
04/16/2022             94 MOTION to Dismiss Count One, MOTION to Strike Surplussage by EDWARD
                          VALLEJO as to ELMER STEWART RHODES, III, KELLY MEGGS, KENNETH
                          HARRELSON, JESSICA WATKINS, JOSHUA JAMES, ROBERTO A. MINUTA,
                          JOSEPH HACKETT, DAVID MOERSCHEL, BRIAN ULRICH, THOMAS
                          EDWARD CALDWELL, EDWARD VALLEJO. (Attachments: # 1 Text of
                          Proposed Order)(Peed, Matthew) (Entered: 04/16/2022)
04/19/2022           155 LEAVE TO FILE DENIED- Second motion for Dual Appellate and quad writ en
                         banc as to ELMER STEWART RHODES, III, KELLY MEGGS, KENNETH
                         HARRELSON, JESSICA WATKINS, JOSHUA JAMES, ROBERTO A. MINUTA,
                         JOSEPH HACKETT, DAVID MOERSCHEL, BRIAN ULRICH, THOMAS
                         EDWARD CALDWELL, EDWARD VALLEJO This document is unavailable as the
                         Court denied its filing. Signed by Judge Amit P. Mehta on 4/18/2022. (zltp)
                         (Entered: 06/15/2022)
04/19/2022           156 LEAVE TO FILE DENIED- Third motion for Dual Appellate and quad writ en banc
                         as to ELMER STEWART RHODES, III, KELLY MEGGS, KENNETH
                         HARRELSON, JESSICA WATKINS, JOSHUA JAMES, ROBERTO A. MINUTA,
                         JOSEPH HACKETT, DAVID MOERSCHEL, BRIAN ULRICH, THOMAS
                         EDWARD CALDWELL, EDWARD VALLEJO This document is unavailable as the
                         Court denied its filing. Signed by Judge Amit P. Mehta on 4/18/2022. (zltp)
                         (Entered: 06/15/2022)
04/19/2022           157 LEAVE TO FILE DENIED- Fourth & Fifth motion for Dual Appellate and quad
                         writ en banc as to ELMER STEWART RHODES, III, KELLY MEGGS, KENNETH
                         HARRELSON, JESSICA WATKINS, JOSHUA JAMES, ROBERTO A. MINUTA,
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                          JOSEPH HACKETT, DAVID MOERSCHEL, BRIAN ULRICH, THOMAS
                          EDWARD CALDWELL, EDWARD VALLEJO This document is unavailable as the
                          Court denied its filing. Signed by Judge Amit P. Mehta on 4/18/2022. (zltp)
                          (Entered: 06/15/2022)
04/19/2022          158 LEAVE TO FILE DENIED- Nineteenth Notice as to ELMER STEWART
                        RHODES, III, KELLY MEGGS, KENNETH HARRELSON, JESSICA WATKINS,
                        JOSHUA JAMES, ROBERTO A. MINUTA, JOSEPH HACKETT, DAVID
                        MOERSCHEL, BRIAN ULRICH, THOMAS EDWARD CALDWELL, EDWARD
                        VALLEJO This document is unavailable as the Court denied its filing. Signed by
                        Judge Amit P. Mehta on 4/18/2022. (zltp) (Entered: 06/15/2022)
04/21/2022          103 NOTICE of Joinder as to ECF 82 , 84 , 85 , 89 , 90 (as to Count 11), 91 (as to
                        Count 11), 93 , 94 and 95 . by KENNETH HARRELSON (Geyer, Bradford)
                        Modified text to include linkage and remove unassociated defendants on 5/6/2022
                        (zltp). (Entered: 04/21/2022)
04/26/2022          106 MOTION to Continue Deadline for Responding to Rule 12 Motions by USA as to
                        ELMER STEWART RHODES, III, KELLY MEGGS, KENNETH HARRELSON,
                        JESSICA WATKINS, JOSHUA JAMES, ROBERTO A. MINUTA, JOSEPH
                        HACKETT, DAVID MOERSCHEL, BRIAN ULRICH, THOMAS EDWARD
                        CALDWELL, EDWARD VALLEJO. (Rakoczy, Kathryn) (Entered: 04/26/2022)
04/27/2022                MINUTE ORDER granting in part the United States' 106 Motion for Extension of
                          Deadline to Respond to Defendants' Rule 12 Motions. Given the court's schedule,
                          the requested seven-day extension of both the opposition and reply deadlines will
                          not allow enough time for the court to adequately prepare for the hearing, if briefing
                          were to close on May 13, 2022. The court will grant a five-day extension, such that
                          the United States' response shall be due on May 4, 2022, and Defendants' replies
                          shall be due on May 11, 2022. Signed by Judge Amit P. Mehta on 4/27/2022.
                          (lcapm1) (Entered: 04/27/2022)
04/29/2022          113 ORDER granting 110 Unopposed Motion to Modify Conditions of Release as to
                        THOMAS EDWARD CALDWELL (10). See the attached Order for additional
                        details. Signed by Judge Amit P. Mehta on 4/29/2022. (lcapm1) (Entered:
                        04/29/2022)
05/01/2022                MINUTE ORDER granting 111 , 112 Sealed Motions for Leave to File Documents
                          Under Seal as to Defendant ROBERTO A. MINUTA (6). (These documents are
                          SEALED and only available to authorized persons.) The Clerk of Court shall
                          maintain 111 , 112 under seal. Defendant shall file public versions of those motions
                          by May 4, 2022, redacting only those portions that pertain to Defendant's personal
                          financial circumstances. Signed by Judge Amit P. Mehta on 5/1/2022. (lcapm1)
                          (Entered: 05/01/2022)
05/04/2022          120 RESPONSE by USA as to ELMER STEWART RHODES, III, KELLY MEGGS,
                        KENNETH HARRELSON, JESSICA WATKINS, JOSHUA JAMES, ROBERTO A.
                        MINUTA, JOSEPH HACKETT, DAVID MOERSCHEL, BRIAN ULRICH,
                        THOMAS EDWARD CALDWELL, EDWARD VALLEJO re 93 MOTION to
                        Change Venue (Attachments: # 1 Exhibit Appendix of Transcript Citations)
                        (Rakoczy, Kathryn) (Entered: 05/04/2022)
05/04/2022          121 RESPONSE by USA as to ELMER STEWART RHODES, III, KELLY MEGGS,
                        KENNETH HARRELSON, JESSICA WATKINS, JOSHUA JAMES, ROBERTO A.
                        MINUTA, JOSEPH HACKETT, DAVID MOERSCHEL, BRIAN ULRICH,
                        THOMAS EDWARD CALDWELL, EDWARD VALLEJO re 91 MOTION to Sever
             Case 1:22-cr-00015-APM Document 669 Filed 07/14/23 Page 12 of 55
                          Count(s) 14, 90 MOTION to Dismiss Count 14 (Rakoczy, Kathryn) (Entered:
                          05/04/2022)
05/04/2022           123 RESPONSE by USA as to ELMER STEWART RHODES, III, KELLY MEGGS,
                         KENNETH HARRELSON, JESSICA WATKINS, JOSHUA JAMES, ROBERTO A.
                         MINUTA, JOSEPH HACKETT, DAVID MOERSCHEL, BRIAN ULRICH,
                         THOMAS EDWARD CALDWELL, EDWARD VALLEJO re 89 MOTION to
                         Dismiss Count 1, 2, 3, and 4, 82 MOTION to Dismiss Count I of the Seventh
                         Superseding Indictment, adopting and supplementing Motion to Dismiss of Thomas
                         Caldwell, incorporated by reference herein, 84 MOTION to Dismiss Count 1, 2, 3
                         and 4 of the Indictment, 94 MOTION to Dismiss Count One MOTION to Strike
                         Surplussage (Rakoczy, Kathryn) (Entered: 05/04/2022)
05/05/2022                MINUTE ORDER. The pending 124 Motion to Continue Trial potentially impacts
                          both trial groups, so the court will hold a combined status hearing in this matter as
                          to all Defendants on May 6, 2022. The combined hearing will begin at 2:00 p.m.
                          Signed by Judge Amit P. Mehta on 5/5/2022. (lcapm1) (Entered: 05/05/2022)
05/05/2022           127 WITHDRAWN BY COUNSEL DURING MOTION HEARING ON
                         5/17/2022.....First MOTION for Discovery of Material Witnesses by KENNETH
                         HARRELSON. (Attachments: # 1 Text of Proposed Order, # 2 Exhibit Redacted)
                         (Geyer, Bradford) Modified text to remove unassociated defendants on 5/6/2022
                         (zltp). Modified on 5/17/2022 (zjd). (Entered: 05/05/2022)
05/06/2022                ***Set/Reset Hearings. (zjd) (Entered: 05/06/2022)
05/06/2022                Minute Entry for proceedings held before Judge Amit P. Mehta: Status Conference
                          as to ELMER STEWART RHODES, III (1), KELLY MEGGS (2), KENNETH
                          HARRELSON (3), JESSICA WATKINS (4), ROBERTO A. MINUTA (6), JOSEPH
                          HACKETT (7), DAVID MOERSCHEL (8), THOMAS EDWARD CALDWELL
                          (10), and EDWARD VALLEJO (11) held via videoconference on 5/6/2022. For the
                          reasons stated on the record, the Court grants 124 Defendant's Motion to Continue
                          Trial. Jury Trial shall proceed on September 26, 2022 for defendants Rhodes (1),
                          Meggs (2), Harrelson (3), Watkins (4), and Caldwell (10). A second Jury Trial shall
                          take place on November 29, 2022 for defendants Minuta (6), Hackett (7), Moerschel
                          (8), and Vallejo (11). In the interests of justice, the time from 5/7/2022 through and
                          including 9/26/2022 shall be excluded in computing the date for speedy trial as to
                          defendants Rhodes (1), Meggs (2), Harrelson (3), Watkins (4), and Caldwell (10). In
                          the interests of justice, the time from 5/7/2022 through and including 11/29/2022
                          shall be excluded in computing the date for speedy trial as to defendants Minuta (6),
                          Hackett (7), Moerschel (8), and Vallejo (11). Bond Status of Defendants: Rhodes (1)
                          remains in-custody, Meggs (2) remains in-custody, Harrelson (3) remains in-
                          custody, Watkins (4) remains in-custody, Minuta (6) remains on PR/HISP, Hackett
                          (7) remains on PR/HISP, Moerschel (8) remains on personal recognizance, Caldwell
                          (10) remains on PR/HISP, Vallejo (11) remains on PR/HISP; Court Reporter:
                          William Zaremba; Defense Attorneys: James Bright (1), Phillip Linder (1), Jonathan
                          Moseley as caretaker counsel (2); Bradford Geyer (3), Jonathan Crisp (4), Alfred
                          Guillaume (6), William Shipley (6), Angela Halim (7), Scott Weinberg (8), David
                          Fischer (10), and Matthew Peed (11); US Attorney: Kathryn Rakoczy. (zjd)
                          (Entered: 05/06/2022)
05/10/2022                MINUTE ORDER granting 130 Consent Motion for Extension of Time to File
                          Response/Reply as to THOMAS EDWARD CALDWELL (10). Defendant
                          THOMAS EDWARD CALDWELL's (10) Reply is now due on May 12, 2022.
                          Signed by Judge Amit P. Mehta on 5/10/2022. (lcapm1) (Entered: 05/10/2022)
             Case 1:22-cr-00015-APM       Document 669       Filed 07/14/23      Page 13 of 55
05/12/2022         133 ORDER as to Defendants ELMER STEWART RHODES, III, KELLY MEGGS,
                       KENNETH HARRELSON, JESSICA WATKINS, ROBERTO A. MINUTA,
                       JOSEPH HACKETT, DAVID MOERSCHEL, THOMAS EDWARD CALDWELL,
                       and EDWARD VALLEJO. Trial is set to commence in this matter on September 26,
                       2022, at 9:30 a.m., for the September Trial Group and on November 29, 2022, at
                       9:30 a.m., for the November Trial Group. The following deadlines shall govern this
                       matter: (1) parties shall file their pretrial motions (other than motions in limine) on
                       or before April 15, 2022; (2) oppositions to pretrial motions shall be filed on or
                       before May 4, 2022; (3) replies to pretrial motions shall be filed on or before May
                       11, 2022; (4) counsel shall reserve May 17, 2022, at 1:00 p.m. for a hearing on
                       pretrial motions, if necessary; (5) the United States shall make any required expert
                       disclosures by June 23, 2022; (6) Defendants shall make any required reciprocal
                       expert disclosures by July 22, 2022; (7) the United States shall notify the September
                       Trial Group of its intention to introduce any Rule 404(b) evidence not already
                       disclosed on or before July 8, 2022; (8) the United States shall notify the November
                       Trial Group of any additional Rule 404(b) evidence by October 10, 2022; (9)
                       motions in limine for the September Trial Group shall be filed on or before July 29,
                       2022; (10) oppositions to those motions in limine shall be filed on or before August
                       12, 2022; (11) replies in support of motions in limine shall be filed on or before
                       August 19, 2022; (12) any November Trial Group Defendant may file an
                       individualized motion in limine by the July 29, 2022 deadline; otherwise, upon
                       filing of a notice, the court will treat the November Trial Group as having joined in
                       the motions in limine filed by the September Trial Group; (13) additional motions in
                       limine can be filed by the November Trial Group by October 31, 2022; (14)
                       oppositions to those motions in limine shall be filed by November 10, 2022; (15)
                       replies shall be filed by November 15, 2022; (16) any motions in limine by the
                       United States shall be filed by August 12, 2022; (17) oppositions to such motions
                       shall be filed by August 26, 2022; (18) Defendants shall satisfy their reciprocal
                       discovery obligations, if any, by July 22, 2022; (19) the United States shall file any
                       motion in limine pursuant to such discovery by August 12, 2022; (20) oppositions to
                       such motions shall be filed by August 26, 2022; replies to such motions shall be
                       filed by September 2, 2022; (21) the United States should endeavor to make grand
                       jury and Jencks Act disclosures as to each witness it expects to call in its case-in-
                       chief and disclose any Brady material not already disclosed on or before September
                       12, 2022; (22) the Jencks/Brady deadline for the November Trial Group is
                       November 15, 2022; (23) the parties shall file a draft Joint Juror Questionnaire by
                       August 23, 2022; (24) qualified prospective jurors will appear on September 13,
                       2022 to answer the finalized version of the Questionnaire; (25) qualified prospective
                       jurors for the November trial shall appear on November 10, 2022 to answer the final
                       version of the questionnaire; (26) the September Trial Group's Joint Pretrial
                       Statement is due on or before September 7, 2022; (27) the November Trial Group's
                       Joint Pretrial Statement is due on November 15, 2022; (28) the parties shall submit
                       a Word format copy of (a) any proposed modification to a standard jury instruction,
                       (b) any non-standard jury instruction, and (c) the verdict form; and (29) the Pretrial
                       Conference is scheduled for September 14, 2022, at 9:30 a.m., in Courtroom 10 for
                       the September Trial Group; (30) the Pretrial Conference is scheduled for November
                       22, 2022, at 9:30 a.m., for the November Trial Group. See the attached Order for
                       additional details. Signed by Judge Amit P. Mehta on 5/12/2022. (lcapm1) (Entered:
                       05/12/2022)
05/17/2022               Minute Entry for proceedings held before Judge Amit P. Mehta: Hearing on Rule 12
                         Motions as to ELMER STEWART RHODES, III (1), KELLY MEGGS (2),
                         KENNETH HARRELSON (3), JESSICA WATKINS (4), ROBERTO A. MINUTA
                         (6), JOSEPH HACKETT (7), DAVID MOERSCHEL (8), THOMAS EDWARD
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                          CALDWELL (10), and EDWARD VALLEJO (11) held on 5/17/2022. Arguments
                          heard and taken under advisement. Defendant Harrelson's Oral Motion to Withdraw
                          127 Motion for Discovery was heard and granted. Status Conference set for
                          6/24/2022 at 1:00 PM via videoconference before Judge Amit P. Mehta. Members of
                          the public may access the conference by dialing the court's toll-free public access
                          line: (877) 848-7030, access code 321-8747. Bond Status of Defendant: Rhodes (1)
                          remains in-custody, Meggs (2) remains in-custody, Harrelson (3) remains in-
                          custody, Watkins (4) remains in-custody, Minuta (6) remains on PR/HISP, Hackett
                          (7) remains on PR/HISP, Moerschel (8) remains on PR/HISP; appearance waived,
                          Caldwell (10) remains on PR/HISP; appearance waived, Vallejo (11) remains on
                          PR/HISP. Court Reporter: William Zaremba; Defense Attorneys: Phillip Linder (1),
                          Stanley Woodward (2), Juli Haller (2), Bradford Geyer (3), Jonathan Crisp (4),
                          William Shipley (6), Angela Halim (7), Scott Weinberg (8), David Fischer (10), and
                          Matthew Peed (11); US Attorneys: Jeffrey Nestler and Kathryn Rakoczy. (zjd)
                          (Entered: 05/17/2022)
05/20/2022                 MINUTE ORDER. The United States shall file by October 28, 2022, an additional
                           Status Report as to whether a sentencing hearing should be set for Defendants
                           JOSHUA JAMES and BRIAN ULRICH; if so, the United States shall propose two
                           dates and times for such hearings. Signed by Judge Amit P. Mehta on 5/20/2022.
                           (lcapm1) (Entered: 05/20/2022)
06/03/2022           151 TRANSCRIPT OF STATUS CONFERENCE PROCEEDINGS in case as to
                         ELMER STEWART RHODES, III, KELLY MEGGS, KENNETH HARRELSON,
                         JESSICA WATKINS, ROBERTO A. MINUTA, JOSEPH HACKETT, DAVID
                         MOERSCHEL, THOMAS EDWARD CALDWELL, EDWARD VALLEJO before
                         Judge Amit P. Mehta held on May 6, 2022; Page Numbers: 1-66. Date of Issuance:
                         June 3, 2022. Court Reporter/Transcriber: William Zaremba; Telephone number:
                         (202) 354-3249. Transcripts may be ordered by submitting the T ranscript Order
                         Form

                           For the first 90 days after this filing date, the transcript may be viewed at the
                           courthouse at a public terminal or purchased from the court reporter referenced
                           above. After 90 days, the transcript may be accessed via PACER. Other transcript
                           formats, (multi-page, condensed, PDF or ASCII) may be purchased from the court
                           reporter.

                           NOTICE RE REDACTION OF TRANSCRIPTS: The parties have twenty-one
                           days to file with the court and the court reporter any request to redact personal
                           identifiers from this transcript. If no such requests are filed, the transcript will be
                           made available to the public via PACER without redaction after 90 days. The policy,
                           which includes the five personal identifiers specifically covered, is located on our
                           website at www.dcd.uscourts.gov.

                           Redaction Request due 6/24/2022. Redacted Transcript Deadline set for 7/4/2022.
                           Release of Transcript Restriction set for 9/1/2022.(wz) (Entered: 06/03/2022)
06/17/2022           159 TRANSCRIPT OF MOTION HEARING PROCEEDINGS in case as to ELMER
                         STEWART RHODES, III, KELLY MEGGS, KENNETH HARRELSON, JESSICA
                         WATKINS, ROBERTO A. MINUTA, JOSEPH HACKETT, DAVID
                         MOERSCHEL, THOMAS EDWARD CALDWELL, EDWARD VALLEJO before
                         Judge Amit P. Mehta held on May 17, 2022; Page Numbers: 1-165. Date of
                         Issuance: June 17, 2022. Court Reporter/Transcriber: William Zaremba; Telephone
                         number: (202) 354-3249. Transcripts may be ordered by submitting the T ranscript
                         Order Form
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                          For the first 90 days after this filing date, the transcript may be viewed at the
                          courthouse at a public terminal or purchased from the court reporter referenced
                          above. After 90 days, the transcript may be accessed via PACER. Other transcript
                          formats, (multi-page, condensed, PDF or ASCII) may be purchased from the court
                          reporter.

                           NOTICE RE REDACTION OF TRANSCRIPTS: The parties have twenty-one
                           days to file with the court and the court reporter any request to redact personal
                           identifiers from this transcript. If no such requests are filed, the transcript will be
                           made available to the public via PACER without redaction after 90 days. The policy,
                           which includes the five personal identifiers specifically covered, is located on our
                           website at www.dcd.uscourts.gov.

                           Redaction Request due 7/8/2022. Redacted Transcript Deadline set for 7/18/2022.
                           Release of Transcript Restriction set for 9/15/2022.(wz) (Entered: 06/17/2022)
06/22/2022           166 MOTION for Inquiry Pursuant to D.C. Rule of Professional Conduct 1.8(e) by USA
                         as to ELMER STEWART RHODES, III, KELLY MEGGS, KENNETH
                         HARRELSON, JESSICA WATKINS, JOSHUA JAMES, ROBERTO A. MINUTA,
                         JOSEPH HACKETT, DAVID MOERSCHEL, BRIAN ULRICH, THOMAS
                         EDWARD CALDWELL, EDWARD VALLEJO. (Attachments: # 1 Exhibit Mother
                         Jones article, # 2 Exhibit BuzzFeed article, # 3 Exhibit June 16, 2022 letter)(Nestler,
                         Jeffrey) (Entered: 06/22/2022)
06/22/2022           167 SUPERSEDING INDICTMENT as to ELMER STEWART RHODES, III (1)
                         count(s) 1s, 2s, 3s, 4s, 7s, KELLY MEGGS (2) count(s) 1s, 2s, 3s, 4s, 5s, 8s,
                         KENNETH HARRELSON (3) count(s) 1s, 2s, 3s, 4s, 5s, 9s, JESSICA WATKINS
                         (4) count(s) 1s, 2s, 3s, 4s, 5s, 6s, ROBERTO A. MINUTA (6) count(s) 1s, 2s, 3s, 4s,
                         10s, JOSEPH HACKETT (7) count(s) 1s, 2s, 3s, 4s, 5s, 11s, DAVID MOERSCHEL
                         (8) count(s) 1s, 2s, 3s, 4s, 5s, 12s, THOMAS EDWARD CALDWELL (10) count(s)
                         1s, 2s, 3s, 4s, 13s, EDWARD VALLEJO (11) count(s) 1s, 2s, 3s, 4s. (zltp) (Entered:
                         06/23/2022)
06/24/2022                 Minute Entry for proceedings held before Judge Amit P. Mehta: Status Conference
                           as to ELMER STEWART RHODES III (1), KELLY MEGGS (2), KENNETH
                           HARRELSON (3), JESSICA WATKINS (4), ROBERTO A. MINUTA (6), JOSEPH
                           HACKETT (7), DAVID MOERSCHEL (8), THOMAS EDWARD CALDWELL
                           (10), EDWARD VALLEJO (11) held via videoconference on 6/24/2022. Defendant
                           Rhodes (1) was arraigned on Count 7 of the 167 Superseding Indictment and
                           entered a plea of Not Guilty. With the consent of the parties, pleas of Not Guilty
                           were entered by defendants Rhodes (1), Meggs (2), Harrelson (3), Watkins (4),
                           Minuta (6), Hackett (7), Moerschel (8), Caldwell (10), and Vallejo (11) as to all
                           counts of the 167 Superseding Indictment. Supplemental Rule 12 Motions due by
                           7/8/2022. Status Conference set for 8/2/2022 at 11:00 AM via videoconference
                           before Judge Amit P. Mehta. Members of the public may access the conference by
                           dialing the court's toll-free public access line: (877) 848-7030, access code 321-
                           8747. Bond Status of Defendants: Rhodes (1) remains in-custody, Meggs (2)
                           remains in-custody, Harrelson (3) remains in-custody, Watkins (4) remains in-
                           custody; appearance waived, Minuta (6) remains on PR/HISP, Hackett (7) remains
                           on PR/HISP, Moerschel (8) remains on PR/HISP, Caldwell (10) remains on
                           PR/HISP; appearance waived, Vallejo (11) remains on PR/HISP. Court Reporter:
                           William Zaremba; Defense Attorneys: Phillip Linder (1), Lee Bright (1), Stanley
                           Woodward (2), Juli Haller (2), Bradford Geyer (3), Jonathan Crisp (4), William
                           Shipley (6), Angela Halim (7), Scott Weinberg (8), David Fischer (10), and Matthew
             Case 1:22-cr-00015-APM Document 669 Filed 07/14/23 Page 16 of 55
                          Peed (11); US Attorneys: Jeffrey Nestler and Kathryn Rakoczy. (zjd) (Entered:
                          06/28/2022)
06/28/2022           176 MEMORANDUM OPINION AND ORDER denying 82 Motion to Dismiss Count
                         1; 84 Motion to Dismiss Counts 1, 2, 3, and 4; 89 Motion to Dismiss Counts 1, 2, 3,
                         and 4; 90 Motion to Dismiss Count 14; 91 Motion to Sever Count 14; 93 Motion for
                         Change of Venue; 94 Motion to Dismiss Count 1; 94 Motion to Strike Surplusage.
                         See the attached MEMORANDUM OPINION AND ORDER for additional details.
                         Signed by Judge Amit P. Mehta on 6/28/2022. (lcapm1) (Main Document 176
                         replaced on 6/30/2022) (zjd). (Entered: 06/28/2022)
06/29/2022           178 TRANSCRIPT OF STATUS CONFERENCE PROCEEDINGS in case as to
                         ELMER STEWART RHODES, III, KELLY MEGGS, KENNETH HARRELSON,
                         JESSICA WATKINS, ROBERTO A. MINUTA, JOSEPH HACKETT, DAVID
                         MOERSCHEL, BRIAN ULRICH, THOMAS EDWARD CALDWELL, EDWARD
                         VALLEJO before Judge Amit P. Mehta held on April 8, 2022; Page Numbers: 1-
                         107. Date of Issuance: June 29, 2022. Court Reporter/Transcriber: William
                         Zaremba; Telephone number: (202) 354-3249. Transcripts may be ordered by
                         submitting the Transcript Order Form

                           For the first 90 days after this filing date, the transcript may be viewed at the
                           courthouse at a public terminal or purchased from the court reporter referenced
                           above. After 90 days, the transcript m ay be accessed via PACER. Other transcript
                           formats, (multi-page, condensed, PDF or ASCII) may be purchased from the court
                           reporter.

                           NOTICE RE REDACTION OF TRANSCRIPTS: The parties have twenty-one
                           days to file with the court and the court reporter any request to redact personal
                           identifiers from this transcript. If no such requests are filed, the transcript will be
                           made available to the public via PACER without redaction after 90 days. The policy,
                           which includes the five personal identifiers specifically covered, is located on our
                           website at www.dcd.uscourts.gov.

                           Redaction Request due 7/20/2022. Redacted Transcript Deadline set for 7/30/2022.
                           Release of Transcript Restriction set for 9/27/2022.(wz) (Entered: 06/29/2022)
06/30/2022                 MINUTE ORDER denying 177 Motion to Strike. The court is not aware of any
                           basis under the Federal Rules of Criminal Procedure that would enable it to "strike"
                           a filing made on the public record, even one that is not authorized by a defendant or
                           his counsel. Cf. Fed. R. Civ. P. 12(f) (permitting the court to "strike from a
                           pleading... any redundant, immaterial, impertinent, or scandalous matter"). That
                           said, the court recognizes that Mr. Moseley's filing was not made with the consent
                           of Mr. Meggs, his new counsel, or any other counsel in this case. The court
                           therefore will not consider anything that Mr. Moseley has represented or argued in
                           connection with the court's consideration of the D.C. Rule of Professional Conduct
                           1.8(e) issue. Additionally, the court warns Mr. Moseley that he is no longer counsel
                           of record in this matter for any defendant. If he again makes a filing in this case
                           without either the consent of a represented defendant or this court, the court will not
                           hesitate to impose appropriate sanctions. Signed by Judge Amit P. Mehta on
                           6/30/2022. (lcapm1) (Entered: 06/30/2022)
07/07/2022                 MINUTE ORDER granting 184 Unopposed Motion for Extension of Time to File
                           Supplemental Rule 12 Motions. Defendants shall file their Supplemental Rule 12
                           Motions on or before July 11, 2022. Signed by Judge Amit P. Mehta on 7/6/2022.
                           (lcapm1) (Entered: 07/07/2022)
             Case 1:22-cr-00015-APM     Document 669       Filed 07/14/23     Page 17 of 55
07/08/2022         186 Memorandum in Opposition by USA as to KELLY MEGGS, KENNETH
                       HARRELSON, JESSICA WATKINS, ROBERTO A. MINUTA, DAVID
                       MOERSCHEL, THOMAS EDWARD CALDWELL re 170 MOTION to Dismiss
                       Case (Superseding Indictment) (Nestler, Jeffrey) (Entered: 07/08/2022)
07/08/2022         187 NOTICE of Government's Motion Regarding Anticipated Trial Evidence and Notice
                       Pursuant to Federal Rule of Evidence 404(b) by USA as to ELMER STEWART
                       RHODES, III, KELLY MEGGS, KENNETH HARRELSON, JESSICA WATKINS,
                       JOSHUA JAMES, ROBERTO A. MINUTA, JOSEPH HACKETT, DAVID
                       MOERSCHEL, BRIAN ULRICH, THOMAS EDWARD CALDWELL, EDWARD
                       VALLEJO (Edwards, Troy) (Entered: 07/08/2022)
07/08/2022         190 MOTION for 404(b) Evidence by USA as to ELMER STEWART RHODES, III,
                       KELLY MEGGS, KENNETH HARRELSON, JESSICA WATKINS, JOSHUA
                       JAMES, ROBERTO A. MINUTA, JOSEPH HACKETT, DAVID MOERSCHEL,
                       BRIAN ULRICH, THOMAS EDWARD CALDWELL, EDWARD VALLEJO. (See
                       docket entry 187 to view document.)(zltp) (Entered: 07/12/2022)
07/14/2022         192 ORDER granting 191 Motion to Modify Conditions of Release as to THOMAS
                       EDWARD CALDWELL (10). See the attached Order for additional details. Signed
                       by Judge Amit P. Mehta on 7/13/2022. (lcapm1) (Entered: 07/14/2022)
07/21/2022              MINUTE ORDER granting 197 Consent Motion for Extension of Time to File
                        Response/Reply to the Government's 190 Rule 404(b) motion as to KELLY
                        MEGGS (2). Defendants shall file their response on or before July 29, 2022. Signed
                        by Judge Amit P. Mehta on 7/21/2022. (lcapm1) (Entered: 07/21/2022)
07/22/2022         198 MOTION to Continue Trial - Redacted by KELLY MEGGS as to ELMER
                       STEWART RHODES, III, KELLY MEGGS, KENNETH HARRELSON, JESSICA
                       WATKINS, JOSHUA JAMES, ROBERTO A. MINUTA, JOSEPH HACKETT,
                       DAVID MOERSCHEL, BRIAN ULRICH, THOMAS EDWARD CALDWELL,
                       EDWARD VALLEJO. (Attachments: # 1 Text of Proposed Order)(Woodward,
                       Stanley) (Entered: 07/22/2022)
07/26/2022         206 Memorandum in Opposition by USA as to ELMER STEWART RHODES, III,
                       KELLY MEGGS, KENNETH HARRELSON, JESSICA WATKINS, THOMAS
                       EDWARD CALDWELL re 198 MOTION to Continue Trial - Redacted, 195
                       MOTION to Continue MOTION to Exclude, 193 Joint MOTION to Change Venue
                       Or Continue Trial Date (Nestler, Jeffrey) (Entered: 07/26/2022)
07/29/2022         213 MOTION in Limine TO PRECLUDE CERTAIN DEFENSE ARGUMENTS AT
                       TRIAL by USA as to ELMER STEWART RHODES, III, KELLY MEGGS,
                       KENNETH HARRELSON, JESSICA WATKINS, JOSHUA JAMES, ROBERTO A.
                       MINUTA, JOSEPH HACKETT, DAVID MOERSCHEL, BRIAN ULRICH,
                       THOMAS EDWARD CALDWELL, EDWARD VALLEJO. (Rakoczy, Kathryn)
                       (Entered: 07/29/2022)
07/29/2022         214 MOTION in Limine TO PRECLUDE CERTAIN UNTIMELY AND IRRELEVANT
                       TESTIMONY by USA as to ELMER STEWART RHODES, III, KELLY MEGGS,
                       KENNETH HARRELSON, JESSICA WATKINS, JOSHUA JAMES, ROBERTO A.
                       MINUTA, JOSEPH HACKETT, DAVID MOERSCHEL, BRIAN ULRICH,
                       THOMAS EDWARD CALDWELL, EDWARD VALLEJO. (Rakoczy, Kathryn)
                       (Entered: 07/29/2022)
07/29/2022         215 MOTION in Limine REGARDING CROSS-EXAMINATION OF U.S. SECRET
                       SERVICE WITNESS by USA as to ELMER STEWART RHODES, III, KELLY
                       MEGGS, KENNETH HARRELSON, JESSICA WATKINS, JOSHUA JAMES,
             Case 1:22-cr-00015-APM Document 669 Filed 07/14/23 Page 18 of 55
                          ROBERTO A. MINUTA, JOSEPH HACKETT, DAVID MOERSCHEL, BRIAN
                          ULRICH, THOMAS EDWARD CALDWELL, EDWARD VALLEJO. (Rakoczy,
                          Kathryn) (Entered: 07/29/2022)
07/29/2022         232 Memorandum in Opposition by KELLY MEGGS re 187 and 190 Notice and Motion
                       for 404(b) Evidence. (See docket entry 219 to view document.)(zltp) (Entered:
                       08/02/2022)
08/01/2022         225 MOTION for Joinder and Attachments by KENNETH HARRELSON re: 193 Joint
                       MOTION to Change Venue Or Continue Trial Date, 194 MOTION to Change
                       Venue, MOTION to Continue, MOTION for Joinder, 195 MOTION to Continue
                       Trial Date and Exclude Time under Speedy Trial Act (Attachments: # 1 Supplement,
                       # 2 Supplement, # 3 Supplement)(Geyer, Bradford) Modified text to include linkage
                       and event type on 8/2/2022 (zltp). (Entered: 08/01/2022)
08/01/2022         226 TRANSCRIPT OF STATUS CONFERENCE PROCEEDINGS in case as to
                       ELMER STEWART RHODES, III, KELLY MEGGS, KENNETH HARRELSON,
                       JESSICA WATKINS, ROBERTO A. MINUTA, JOSEPH HACKETT, DAVID
                       MOERSCHEL, THOMAS EDWARD CALDWELL, EDWARD VALLEJO before
                       Judge Amit P. Mehta held on June 24, 2022; Page Numbers: 1-74. Date of Issuance:
                       August 1, 2022. Court Reporter/Transcriber: William Zaremba; Telephone number:
                       (202) 354-3249, Transcripts may be ordered by submitting the Transcript Order
                       Form

                        For the first 90 days after this filing date, the transcript may be viewed at the
                        courthouse at a public terminal or purchased from the court reporter referenced
                        above. After 90 days, the transcript may be accessed via PACER. Other transcript
                        formats, (multi-page, condensed, PDF or ASCII) may be purchased from the court
                        reporter.

                        NOTICE RE REDACTION OF TRANSCRIPTS: The parties have twenty-one
                        days to file with the court and the court reporter any request to redact personal
                        identifiers from this transcript. If no such requests are filed, the transcript will be
                        made available to the public via PACER without redaction after 90 days. The policy,
                        which includes the five personal identifiers specifically covered, is located on our
                        website at www.dcd.uscourts.gov.

                        Redaction Request due 8/22/2022. Redacted Transcript Deadline set for 9/1/2022.
                        Release of Transcript Restriction set for 10/30/2022.(wz) (Entered: 08/01/2022)
08/02/2022         235 MOTION for Order to Unseal for Limited Purpose of Creating a Transcript by USA
                       as to ELMER STEWART RHODES, III, KELLY MEGGS, KENNETH
                       HARRELSON, JESSICA WATKINS, JOSHUA JAMES, ROBERTO A. MINUTA,
                       JOSEPH HACKETT, DAVID MOERSCHEL, BRIAN ULRICH, THOMAS
                       EDWARD CALDWELL, EDWARD VALLEJO. (Nestler, Jeffrey) (Entered:
                       08/02/2022)
08/02/2022         237 ORDER granting 235 Motion for Order to Unseal for Limited Purpose of Creating a
                       Transcript. See the attached Order for additional details. Signed by Judge Amit P.
                       Mehta on 8/2/2022. (lcapm1) (Entered: 08/02/2022)
08/02/2022         238 MEMORANDUM OPINION AND ORDER denying Defendants' 170 Motion to
                       Dismiss the Superseding Indictment; Defendant KELLY MEGGS's (2) 188 Motion
                       to Dismiss Counts 1-3 and 5; and Defendant KELLY MEGGS's (2) 189 Motion to
                       Dismiss on the Basis of Selective Prosecution. See the attached Memorandum
             Case 1:22-cr-00015-APM Document 669 Filed 07/14/23 Page 19 of 55
                          Opinion and Order for additional details. Signed by Judge Amit P. Mehta on
                          8/2/2022. (lcapm1) (Entered: 08/02/2022)
08/02/2022                 Minute Entry for proceedings held before Judge Amit P. Mehta: Status Conference
                           as to ELMER STEWART RHODES, III (1), KELLY MEGGS (2), KENNETH
                           HARRELSON (3), JESSICA WATKINS (4), ROBERTO A. MINUTA (6), JOSEPH
                           HACKETT (7), DAVID MOERSCHEL (8), THOMAS EDWARD CALDWELL
                           (10), and EDWARD VALLEJO (11) held on 8/2/2022. For the reasons stated on the
                           record, the court denies Defendants' 193 , 195 Joint Motion to Change Venue or
                           Continue Trial Date; Defendant ELMER STEWART RHODES, III's 194 , 201
                           Motion and Amended Motion to Change Venue; Defendant KELLY MEGGS's 198 ,
                           200 Motion to Continue Trial; and Defendant KENNETH HARRELSON's 225
                           Motion to Change Venue or Continue Trial Dates. Government's In-Camera
                           Submission due by 8/5/2022. Status Conferences tentatively set for either 8/22/2022
                           at 1:00 PM or 8/23/2022 at 02:00 PM before Judge Amit P. Mehta. The status
                           conference date will be set via notice of hearing. Members of the public or media
                           may also access the hearing via teleconference by dialing the court's toll-free public
                           access line: (877) 848-7030, access code 321-8747. Bond Status of Defendants:
                           Bond Status of Defendants: Rhodes (1) remains in-custody, Meggs (2) remains in-
                           custody, Harrelson (3) remains in-custody, Watkins (4) remains in-custody, Minuta
                           (6) remains on PR/HISP, Hackett (7) remains on PR/HISP; appearance waived,
                           Moerschel (8) remains on PR/HISP, Caldwell (10) remains on PR/HISP, Vallejo (11)
                           remains on PR/HISP. Court Reporter: William Zaremba; Defense Attorneys: Phillip
                           Linder (1), Lee Bright (1), Stanley Woodward (2), Juli Haller (2), Bradford Geyer
                           (3), David Fischer for Jonathan Crisp (4), William Shipley (6), Angela Halim (7),
                           Scott Weinberg (8), David Fischer (10), and Matthew Peed (11); US Attorneys:
                           Kathryn Rakoczy and Jeffrey Nestler. (zjd) (Entered: 08/04/2022)
08/04/2022           239 MOTION for Extension of Deadline for Responding to Rule 404(b) Oppositions by
                         USA as to ELMER STEWART RHODES, III, KELLY MEGGS, KENNETH
                         HARRELSON, JESSICA WATKINS, JOSHUA JAMES, ROBERTO A. MINUTA,
                         JOSEPH HACKETT, DAVID MOERSCHEL, BRIAN ULRICH, THOMAS
                         EDWARD CALDWELL, EDWARD VALLEJO. (Edwards, Troy) Modified text and
                         event type on 8/5/2022 (zltp). (Entered: 08/04/2022)
08/04/2022                 MINUTE ORDER granting United States' 239 Motion for Extension of Time. The
                           United States shall file its reply to Defendants' Opposition 217 , 218 , 219 to the
                           United States' 187 Rule 404(b) Notice on or before August 12, 2022. Signed by
                           Judge Amit P. Mehta on 8/5/2022. (lcapm1) (Entered: 08/05/2022)
08/11/2022                 ***HSD has been filed with the Court. (zjd) (Entered: 08/11/2022)
08/12/2022           247 TRANSCRIPT OF STATUS CONFERENCE PROCEEDINGS in case as to
                         ELMER STEWART RHODES, III, KELLY MEGGS, KENNETH HARRELSON,
                         JESSICA WATKINS, ROBERTO A. MINUTA, JOSEPH HACKETT, DAVID
                         MOERSCHEL, THOMAS EDWARD CALDWELL, EDWARD VALLEJO before
                         Judge Amit P. Mehta held on August 2, 2022; Page Numbers: 1-147. Date of
                         Issuance: August 12, 2022. Court Reporter/Transcriber: William Zaremba;
                         Telephone number: (202) 354-3249. Transcripts may be ordered by submitting the
                         Transcript Order Form

                           For the first 90 days after this filing date, the transcript may be viewed at the
                           courthouse at a public terminal or purchased from the court reporter referenced
                           above. After 90 days, the transcript may be acces sed via PACER. Other transcript
                           formats, (multi-page, PDF or ASCII) may be purchased from the court reporter.
             Case 1:22-cr-00015-APM Document 669 Filed 07/14/23 Page 20 of 55
                          NOTICE RE REDACTION OF TRANSCRIPTS: The parties have twenty-one
                          days to file with the court and the court reporter any request to redact personal
                          identifiers from this transcript. If no such requests are filed, the transcript will be
                          made available to the public via PACER without redaction after 90 days. The policy,
                          which includes the five personal identifiers specifically covered, is located on our
                          website at www.dcd.uscourts.gov.

                            Redaction Request due 9/2/2022. Redacted Transcript Deadline set for 9/12/2022.
                            Release of Transcript Restriction set for 11/10/2022.(wz) (Entered: 08/12/2022)
08/12/2022           249 REPLY in Support by USA as to ELMER STEWART RHODES, III, KELLY
                         MEGGS, KENNETH HARRELSON, JESSICA WATKINS, ROBERTO A.
                         MINUTA, JOSEPH HACKETT, DAVID MOERSCHEL, THOMAS EDWARD
                         CALDWELL, EDWARD VALLEJO re 214 MOTION in Limine TO PRECLUDE
                         CERTAIN UNTIMELY AND IRRELEVANT TESTIMONY (Rakoczy, Kathryn)
                         Modified text to remove unassociated defendants on 8/30/2022 (zltp). (Entered:
                         08/12/2022)
08/12/2022           250 Memorandum in Opposition by USA as to ELMER STEWART RHODES, III,
                         KELLY MEGGS, KENNETH HARRELSON, JESSICA WATKINS, ROBERTO A.
                         MINUTA, JOSEPH HACKETT, DAVID MOERSCHEL, THOMAS EDWARD
                         CALDWELL, EDWARD VALLEJO re 218 Motion to Exclude (Rakoczy, Kathryn)
                         Modified text to remove unassociated defendants on 8/30/2022 (zltp). (Entered:
                         08/12/2022)
08/12/2022           251 Memorandum in Opposition by USA as to ELMER STEWART RHODES, III,
                         KELLY MEGGS, KENNETH HARRELSON, JESSICA WATKINS, ROBERTO A.
                         MINUTA, JOSEPH HACKETT, DAVID MOERSCHEL, THOMAS EDWARD
                         CALDWELL, EDWARD VALLEJO re 219 Motion in Limine 216 Response to
                         404(b) Notice, and 217 Response to 404(b) Notice (Rakoczy, Kathryn) Modified
                         text to remove unassociated defendants on 8/30/2022 (zltp). (Entered: 08/12/2022)
08/12/2022           252 MOTION to Exclude Defense Expert Testimony by USA as to ELMER STEWART
                         RHODES, III, KELLY MEGGS, KENNETH HARRELSON, JESSICA WATKINS,
                         JOSHUA JAMES, ROBERTO A. MINUTA, JOSEPH HACKETT, DAVID
                         MOERSCHEL, BRIAN ULRICH, THOMAS EDWARD CALDWELL, EDWARD
                         VALLEJO. (Rakoczy, Kathryn) Modified text to remove unassociated defendants on
                         8/30/2022 (zltp). (Entered: 08/12/2022)
08/13/2022           255 RESPONSE by KENNETH HARRELSON re 214 MOTION in Limine TO
                         PRECLUDE CERTAIN UNTIMELY AND IRRELEVANT TESTIMONY, 213
                         MOTION in Limine TO PRECLUDE CERTAIN DEFENSE ARGUMENTS AT
                         TRIAL (Geyer, Bradford) Modified text to remove unassociated defendants on
                         8/30/2022 (zltp). (Entered: 08/13/2022)
08/15/2022           257 RESPONSE by KENNETH HARRELSON re 215 MOTION in Limine
                         REGARDING CROSS-EXAMINATION OF U.S. SECRET SERVICE WITNESS, 214
                         MOTION in Limine TO PRECLUDE CERTAIN UNTIMELY AND IRRELEVANT
                         TESTIMONY, 213 MOTION in Limine TO PRECLUDE CERTAIN DEFENSE
                         ARGUMENTS AT TRIAL (Attachments: # 1 Exhibit, # 2 Exhibit)(Geyer, Bradford)
                         Modified text to remove unassociated defenants on 8/30/2022 (zltp). (Entered:
                         08/15/2022)
08/18/2022           259 First MOTION to Sever Defendant by KENNETH HARRELSON (Geyer,
                         Bradford) Modified text to remove unassociated defendants on 8/30/2022 (zltp).
                         (Entered: 08/18/2022)
             Case 1:22-cr-00015-APM      Document 669        Filed 07/14/23     Page 21 of 55
08/19/2022         260 REPLY in Support by USA as to ELMER STEWART RHODES, III, KELLY
                       MEGGS, KENNETH HARRELSON, JESSICA WATKINS, ROBERTO A.
                       MINUTA, JOSEPH HACKETT, DAVID MOERSCHEL, THOMAS EDWARD
                       CALDWELL, EDWARD VALLEJO re 215 MOTION in Limine REGARDING
                       CROSS-EXAMINATION OF U.S. SECRET SERVICE WITNESS, 214 MOTION in
                       Limine TO PRECLUDE CERTAIN UNTIMELY AND IRRELEVANT TESTIMONY,
                       213 MOTION in Limine TO PRECLUDE CERTAIN DEFENSE ARGUMENTS AT
                       TRIAL (Manzo, Louis) Modified text to remove unassociated defendants on
                       9/1/2022 (zltp). (Entered: 08/19/2022)
08/19/2022         266 First MOTION for Release of Brady Materials by KENNETH HARRELSON.
                       (Attachments: # 1 Exhibit)(Geyer, Bradford) Modified text to remove unassociated
                       defendants on 9/1/2022 (zltp). (Entered: 08/19/2022)
08/19/2022         267 Memorandum in Opposition by KENNETH HARRELSON re 252 Motion to
                       Exclude, (Attachments: # 1 Exhibit)(Geyer, Bradford) Modified text to remove
                       unassociated defendants on 9/1/2022 (zltp). (Entered: 08/19/2022)
08/20/2022         268 ERRATA by KENNETH HARRELSON re 266 Motion for Release of Brady
                       Materials, (Attachments: # 1 Exhibit, # 2 Exhibit)(Geyer, Bradford) Modified text to
                       remove unassociated defendants on 9/1/2022 (zltp). (Entered: 08/20/2022)
08/20/2022         269 First MOTION in Limine conspiracy with groups, aiding and abetting, did not lead
                       attack, presidential power, res ipsa loquitor, restricted area, guilt by association,
                       stacks, breach, unconnected or inaudible phone calls, completeness and context by
                       KENNETH HARRELSON. (Attachments: # 1 Exhibit, # 2 Exhibit)(Geyer,
                       Bradford) Modified text to remove unassociated defendants on 9/1/2022 (zltp).
                       (Entered: 08/20/2022)
08/22/2022         271 Memorandum in Opposition by USA as to ELMER STEWART RHODES, III,
                       KELLY MEGGS, KENNETH HARRELSON, JESSICA WATKINS, ROBERTO A.
                       MINUTA, JOSEPH HACKETT, DAVID MOERSCHEL, THOMAS EDWARD
                       CALDWELL, EDWARD VALLEJO re 259 Motion to Sever Defendant, Kenneth
                       Harrelson (Edwards, Troy) Modified text to remove unassociated defendants on
                       9/1/2022 (zltp). (Entered: 08/22/2022)
08/23/2022         272 Memorandum in Opposition by USA as to ELMER STEWART RHODES, III,
                       KELLY MEGGS, KENNETH HARRELSON, JESSICA WATKINS, ROBERTO A.
                       MINUTA, JOSEPH HACKETT, DAVID MOERSCHEL, THOMAS EDWARD
                       CALDWELL, EDWARD VALLEJO re 266 Motion for Release of Brady Materials,
                       By Kenneth Harrelson (Edwards, Troy) Modified text to remove unassociated
                       defendants on 9/1/2022 (zltp). (Entered: 08/23/2022)
08/23/2022         273 Memorandum in Opposition by USA as to ELMER STEWART RHODES, III,
                       KELLY MEGGS, KENNETH HARRELSON, JESSICA WATKINS, ROBERTO A.
                       MINUTA, JOSEPH HACKETT, DAVID MOERSCHEL, THOMAS EDWARD
                       CALDWELL, EDWARD VALLEJO re 269 Motion in Limine By Kenneth
                       Harrelson (Edwards, Troy) Modified text to remove unassociated defendants on
                       9/1/2022 (zltp). (Entered: 08/23/2022)
08/23/2022         275 REPLY TO OPPOSITION to Motion by KENNETH HARRELSON re 259 First
                       MOTION to Sever Defendant KENNETH HARRELSON (Geyer, Bradford)
                       Modified text to remove unassociated defendants on 9/1/2022 (zltp). (Entered:
                       08/23/2022)
08/23/2022               Minute Entry for proceedings held before Judge Amit P. Mehta: Status Conference
                         as to ELMER STEWART RHODES, III (1), KELLY MEGGS (2), KENNETH
             Case 1:22-cr-00015-APM Document 669 Filed 07/14/23 Page 22 of 55
                          HARRELSON (3), JESSICA WATKINS (4), ROBERTO A. MINUTA (6), JOSEPH
                          HACKETT (7), DAVID MOERSCHEL (8), THOMAS EDWARD CALDWELL
                          (10), and EDWARD VALLEJO (11) held on 8/23/2022. Hearing on Motions in
                          Limine set for 8/30/2022 at 1:30 PM in Courtroom 10 before Judge Amit P. Mehta.
                          Bond Status of Defendants: Rhodes (1) remains in-custody, Meggs (2) remains in-
                          custody, Harrelson (3) remains in-custody, Watkins (4) remains in-custody, Minuta
                          (6) remains on PR/HISP; appearance waived, Hackett (7) remains on PR/HISP,
                          Moerschel (8) remains on PR/HISP, Caldwell (10) remains on PR/HISP, Vallejo (11)
                          remains on PR/HISP; Court Reporter: William Zaremba; Defense Attorneys: Phillip
                          Linder (1), James Bright (1), Stanley Woodward (2), Juli Haller (2), Bradford Geyer
                          (3), Jonathan Crisp (4), William Shipley (6), Angela Halim (7), David Fischer and
                          Connor Martin for Scott Weinberg (8), David Fischer (10) and Matthew Peed (11);
                          US Attorneys: Kathryn Rakoczy and Jeffrey Nestler. (zjd) (Entered: 08/24/2022)
08/28/2022           280 Joint MOTION in Limine to bar Zello Communications by KELLY MEGGS as to
                         ELMER STEWART RHODES, III, KELLY MEGGS, KENNETH HARRELSON,
                         JESSICA WATKINS. (Attachments: # 1 Text of Proposed Order)(Haller, Juli)
                         (Entered: 08/28/2022)
08/30/2022           283 REPLY TO OPPOSITION to Motion by KENNETH HARRELSON re 266 First
                         MOTION for Release of Brady Materials (Attachments: # 1 Certificate of Service
                         Checklist of Demanded, # 2 Exhibit Checklist of Claimed but not produced, # 3
                         Exhibit Missing Productions from known persons, # 4 Exhibit Updated Expert
                         Requests)(Geyer, Bradford) Modified text to remove unassociated defendants on
                         9/1/2022 (zltp). (Entered: 08/30/2022)
08/30/2022           285 SUPPLEMENT by KENNETH HARRELSON re 267 Memorandum in Opposition,
                         Update Since Last Filing (Attachments: # 1 Exhibit expert access request to Capitol,
                         # 2 Exhibit Snell expert disclosure, # 3 Exhibit Hill expert disclosure)(Geyer,
                         Bradford) Modified text to remove unassociated defendants on 9/1/2022 (zltp).
                         (Entered: 08/30/2022)
08/30/2022           286 AMENDED PRETRIAL ORDER. The court's previous 133 Pretrial Order will
                         govern all dates in this matter except the following with respect to the September
                         Trial Group: (1) the Pretrial Statement is now due on September 9, 2022; (2) a
                         second day of Pretrial Conference will follow on September 15, 2022, at 9:30 a.m.;
                         (3) trial is now set to commence on September 27, 2022, at 9:30 a.m.; and (4) the
                         court will not sit on October 5 or 10, 2022. See the attached Order for additional
                         details. Signed by Judge Amit P. Mehta on 8/30/2022. (lcapm1) (Entered:
                         08/30/2022)
08/30/2022                 Minute Entry for proceedings held before Judge Amit P. Mehta: Hearing on Motions
                           in Limine as to ELMER STEWART RHODES, III (1), KELLY MEGGS (2),
                           KENNETH HARRELSON (3), JESSICA WATKINS (4), ROBERTO A. MINUTA
                           (6), JOSEPH HACKETT (7), DAVID MOERSCHEL (8), THOMAS EDWARD
                           CALDWELL (10), EDWARD VALLEJO (11) held on 8/30/2022. Bond Status of
                           Defendants: Rhodes (1) remains in-custody, Meggs (2) remains in-custody,
                           Harrelson (3) remains in-custody, Watkins (4) remains in-custody, Minuta (6)
                           remains on PR/HISP, Hackett (7) remains on PR/HISP; appearance waived,
                           Moerschel (8) remains on personal recognizance; appearance waived, Caldwell (10)
                           remains on PR/HISP; Vallejo (11) remains on PR/HISP. Court Reporter: William
                           Zaremba; Defense Attorneys: James Lee Bright (1), Stanley Woodward (2), Juli
                           Haller (2) Bradford Geyer (3), David Fischer for Jonathan Crisp (4), David Fischer
                           for William Shipley (6), Angie Halim (7), Scott Weinberg (8), David Fischer (10),
                           Matthew Peed (11); US Attorneys: Kathryn Rakoczy, Jeffrey Nestler, Troy Edwards,
                           Louis Manzo, Alexandra Hughes, and Justin Sher. (zjd) (Entered: 08/31/2022)
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09/06/2022         288 OMNIBUS ORDER re: certain motions in limine. The court orders the following:
                       (1) the United States' 190 Motion for 404(b) Evidence is granted in part and denied
                       in part; (2) Defendant KELLY MEGGS's (2) 219 Motion to Bar the Introduction of
                       Certain of that Evidence is denied; (3) the United States' 213 Motion in Limine to
                       Preclude Certain Defense Arguments at Trial is granted; (4) the United States' 214
                       Motion in Limine to Preclude Certain Untimely and Irrelevant Testimony is granted
                       in part and denied in part; (5) the United States' 215 Motion in Limine Regarding
                       Cross-Examination of U.S. Secret Service Witness is granted; (6) the court defers
                       ruling on Defendant EDWARD VALLEJO's (11) 218 Motion in Limine to Exclude
                       Expert Testimony of Dr. Sam Jackson, Ph.D.; (7) Defendant KELLY MEGGS's (2)
                       221 Join Motion in Limine is denied; and (8) the court defers ruling on the
                       government's 252 Motion to Exclude Defense Expert Testimony Due to Insufficient
                       Notice. The court stated its reasons for these rulings on the record at the hearing
                       held on August 30, 2022. See the attached Order for additional details. Signed by
                       Judge Amit P. Mehta on 9/6/2022. (lcapm1) (Entered: 09/06/2022)
09/06/2022              MINUTE ORDER. The United States and Defendant ELMER STEWART
                        RHODES, III's (1) counsel of record, separately, may file a response to the 290
                        Motion to Substitute Counsel and Continue Trial by September 7, 2022, at 2:00 p.m.
                        Signed by Judge Amit P. Mehta on 9/6/2022. (lcapm1) (Entered: 09/06/2022)
09/06/2022         291 Status and Progress Report by KENNETH HARRELSON system prevents linkage
                       to 267 and 285 (Attachments: # 1 Supplement)(Geyer, Bradford) Modified text to
                       remove unassociated defendants on 9/13/2022 (zltp). (Entered: 09/06/2022)
09/06/2022         292 Memorandum in Opposition by USA as to ELMER STEWART RHODES, III,
                       KELLY MEGGS, KENNETH HARRELSON, JESSICA WATKINS, THOMAS
                       EDWARD CALDWELL re 280 Motion in Limine re Zello communications
                       (Nestler, Jeffrey) (Entered: 09/06/2022)
09/07/2022         294 ORDER denying the following motions by Defendant KENNETH HARRELSON
                       (3): 259 Motion to Sever Defendant; 266 Motion for Release of Brady Materials;
                       269 Motion in Limine. See the attached Order for additional details. Signed by
                       Judge Amit P. Mehta on 9/7/2022. (lcapm1) (Entered: 09/07/2022)
09/09/2022         298 TRANSCRIPT OF MOTIONS HEARING PROCEEDINGS in case as to ELMER
                       STEWART RHODES, III, KELLY MEGGS, KENNETH HARRELSON, JESSICA
                       WATKINS, ROBERTO A. MINUTA, JOSEPH HACKETT, DAVID
                       MOERSCHEL, THOMAS EDWARD CALDWELL, EDWARD VALLEJO before
                       Judge Amit P. Mehta held on August 30, 2022; Page Numbers: 1-170. Date of
                       Issuance: September 9, 2022. Court Reporter/Transcriber: William Zaremba;
                       Telephone number: (202) 354-3249. Transcripts may be ordered by submitting the
                       Transcript Order Form

                        For the first 90 days after this filing date, the transcript may be viewed at the
                        courthouse at a public terminal or purchased from the court reporter referenced
                        above. After 90 days, the transcript may be acce ssed via PACER. Other transcript
                        formats, (multi-page, PDF or ASCII) may be purchased from the court reporter.

                        NOTICE RE REDACTION OF TRANSCRIPTS: The parties have twenty-one
                        days to file with the court and the court reporter any request to redact personal
                        identifiers from this transcript. If no such requests are filed, the transcript will be
                        made available to the public via PACER without redaction after 90 days. The policy,
                        which includes the five personal identifiers specifically covered, is located on our
                        website at www.dcd.uscourts.gov.
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                          Redaction Request due 9/30/2022. Redacted Transcript Deadline set for 10/10/2022.
                          Release of Transcript Restriction set for 12/8/2022.(wz) (Entered: 09/09/2022)
09/09/2022           300 PRETRIAL MEMORANDUM (JOINT) by USA as to ELMER STEWART
                         RHODES, III, KELLY MEGGS, KENNETH HARRELSON, JESSICA WATKINS,
                         THOMAS EDWARD CALDWELL (Nestler, Jeffrey) (Entered: 09/09/2022)
09/09/2022           301 REPLY in Support by KELLY MEGGS as to KELLY MEGGS, KENNETH
                         HARRELSON, JESSICA WATKINS re 280 Joint MOTION in Limine to bar Zello
                         Communications (in Opposition to ECF 292) (Haller, Juli) (Entered: 09/09/2022)
09/11/2022                 MINUTE ORDER granting 296 Sealed Motion for Leave to File Document Under
                           Seal (This document is SEALED and only available to authorized persons.) as to
                           KELLY MEGGS (2). Signed by Judge Amit P. Mehta on 9/11/2022. (lcapm1)
                           (Entered: 09/11/2022)
09/12/2022           302 RESPONSE by USA as to ELMER STEWART RHODES, III, KELLY MEGGS,
                         KENNETH HARRELSON, JESSICA WATKINS, THOMAS EDWARD
                         CALDWELL re 299 MOTION in Limine to Allow in Certain Inconsistent
                         Statements Made by the Government (Manzo, Louis) Modified text to remove
                         unassociated defendants on 9/12/2022 (zltp). (Entered: 09/12/2022)
09/14/2022                 Minute Entry for proceedings held before Judge Amit P. Mehta: Pretrial Conference
                           as to ELMER STEWART RHODES, III (1), KELLY MEGGS (2), KENNETH
                           HARRELSON (3), JESSICA WATKINS (4), THOMAS EDWARD CALDWELL
                           (10) held on 9/14/2022. Continued Pretrial Conference set for 9/22/2022 at 9:30 AM
                           in Courtroom 23 before Judge Amit P. Mehta. The public access line will be
                           connected for this hearing and may be accessed by dialing the court's toll-free
                           public access line: (877) 848-7030, access code 321-8747. Bond Status of
                           Defendants: Rhodes (1) remains in-custody, Meggs (2) remains in-custody,
                           Harrelson (3) remains in-custody, Watkins (4) remains in-custody, and Caldwell
                           (10) appearance waived, remains on personal recognizance; Court Reporter:
                           William Zaremba; Defense Attorneys: Phillip Linder(1), James Lee Bright (1),
                           Edward Tarpley (1), Juli Haller (2) Stanley Woodward (2), Bradford Geyer (3),
                           Jonathan Crisp (4), David Fischer (10); US Attorneys: Kathryn Rakoczy, Jeffrey
                           Nestler, Alexandra Hughes, Troy Edwards, Louis Manzo. (zjd) (Entered:
                           09/15/2022)
09/15/2022           318 ORDER. Any defendant who intends to assert an advice-of-counsel defense as to
                         any count of the Indictment shall make such disclosure to the government by
                         September 21, 2022. Failure to provide the notice required by this Order may lead
                         the court to preclude a defendant from asserting such a defense. See the attached
                         Order for additional details. Signed by Judge Amit P. Mehta on 9/15/2022. (lcapm1)
                         (Entered: 09/15/2022)
09/15/2022           319 ORDER. This Omnibus Order memorializes what transpired during the Pretrial
                         Conference on September 14, 2022. The court denies Defendant KELLY MEGGS's
                         (2) Omnibus Motion to Compel Discovery, ECF No. 287-2 (sealed); 290 (redacted).
                         The court defers ruling on each of the following: (1) Defendant ELMER STEWART
                         RHODES, III's (1) 308 Motion to Suppress Any Recording or Transcript of
                         November 9, 2022, "GoToMeeting" Conversation; (2) Defendant THOMAS
                         CALDWELL's (10) 299 Motion in Limine to Allow into Evidence Certain
                         Inconsistent Statements Made by the Government; and (3) Defendants Meggs,
                         Rhodes, KENNETH HARRELSON (3), and JESSICA WATKINS's (4) 280 Joint
                         Motion in Limine to Bar Zello Communications. Additionally, the court orders the
                         following with respect to further proceedings in this matter: (1) the parties shall
                         submit to the court by September 21, 2022, at 5:00 p.m. a list of (a) the prospective
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                          jurors that they agree should be stricken for cause and (b) the jurors as to which
                          there remains a dispute about striking for cause. The filing should identify the juror
                          only by their juror number; (2) Defendants shall submit a legal memorandum
                          addressing their reliance on the Insurrection Act as part of their defense by
                          September 19, 2022; (4) the United States shall file its response by September 21,
                          2022; and (5) the parties shall appear for a continued pretrial conference on
                          September 22, 2022, at 9:30 a.m. See the attached Order for additional details.
                          Signed by Judge Amit P. Mehta on 9/15/2022. (lcapm1) (Entered: 09/15/2022)
09/17/2022           321 SUPPLEMENT by USA as to ELMER STEWART RHODES, III, KELLY MEGGS,
                         KENNETH HARRELSON, JESSICA WATKINS, THOMAS EDWARD
                         CALDWELL re 292 Memorandum in Opposition re Motion in Limine re Zello
                         recording (Nestler, Jeffrey) (Entered: 09/17/2022)
09/19/2022           322 ORDER granting in part and denying in part Defendants' 280 Joint Motion in
                         Limine Regarding Anticipated Trial Evidence Re: Zello Communications as to
                         ELMER STEWART RHODES, KELLY MEGGS, KENNETH HARRELSON, and
                         JESSICA WATKINS. See Order for additional details. Signed by Judge Amit P.
                         Mehta on 9/19/2022. (lcapm2) (Entered: 09/19/2022)
09/20/2022           327 ORDER. Trial is set to commence in this matter as to the September Trial Group on
                         September 27, 2022. The attached Order sets forth various schedule, location,
                         seating, access, media, masking, and other logistics. See the attached Order for
                         additional details. Signed by Judge Amit P. Mehta on 9/20/2022. (lcapm1) (Entered:
                         09/20/2022)
09/21/2022           329 MOTION for Bill of Particulars by JESSICA WATKINS as to KELLY MEGGS,
                         KENNETH HARRELSON, JESSICA WATKINS, THOMAS EDWARD
                         CALDWELL. (Attachments: # 1 Text of Proposed Order)(Crisp, Jonathan)
                         (Entered: 09/21/2022)
09/21/2022           330 FINAL JUROR QUESTIONNAIRE. The court included Question 30 over
                         Defendants' objections. See the attached Juror Questionnaire for additional details.
                         (lcapm1) (Entered: 09/21/2022)
09/21/2022           332 MOTION FOR A PROTECTIVE ORDER PERTAINING TO THE TRIAL
                         TESTIMONY OF CONFIDENTIAL HUMAN SOURCES by USA as to ELMER
                         STEWART RHODES, III, KELLY MEGGS, KENNETH HARRELSON, JESSICA
                         WATKINS, ROBERTO A. MINUTA, JOSEPH HACKETT, DAVID
                         MOERSCHEL, THOMAS EDWARD CALDWELL, EDWARD VALLEJO.
                         (Attachments: # 1 Text of Proposed Order)(Rakoczy, Kathryn) Modified event type
                         and text to remove unassociated defendants on 9/28/2022 (zltp). (Entered:
                         09/21/2022)
09/21/2022           333 NOTICE of Intent to Assert Advice of Counsel Defense by KELLY MEGGS as to
                         ELMER STEWART RHODES, III, KELLY MEGGS, KENNETH HARRELSON
                         (Woodward, Stanley) (Entered: 09/21/2022)
09/22/2022                  Minute Entry for proceedings held before Judge Amit P. Mehta: Final Pretrial
                            Conference as to ELMER STEWART RHODES, III (1), KELLY MEGGS (2),
                            KENNETH HARRELSON (3), JESSICA WATKINS (4), and THOMAS EDWARD
                            CALDWELL (10) held on 9/22/2022. Jury Selection shall proceed on Tuesday,
                            September 27, 2022 at 9:30 AM in Courtroom 23 before Judge Amit P. Mehta. The
                            public access line will not be connected for trial proceedings. Bond Status of
                            Defendants: Rhodes (1) remains in-custody, Meggs (2) remains in-custody,
                            Harrelson (3) remains in-custody, Watkins (4) remains in-custody, and Caldwell
                            (10) remains on personal recognizance; Court Reporter: William Zaremba; Defense
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                          Attorneys: Phillip Linder (1), James Lee Bright (1), Edward Tarpley (1), Juli Haller
                          (2) Stanley Woodward (2), Bradford Geyer (3), Jonathan Crisp (4), and David
                          Fischer (10); US Attorneys: Kathryn Rakoczy, Jeffrey Nestler, Alexandra Hughes,
                          Troy Edwards, and Louis Manzo. (zjd) (Entered: 09/22/2022)
09/23/2022           338 ORDER granting the government's ex parte Motion to Withhold from Discovery
                         Certain Materials That are Not Otherwise Relevant or Discloseable. The
                         government is authorized to withhold from discovery to the defense the information
                         outlined in the government's filing. See the attached Order for additional details.
                         Signed by Judge Amit P. Mehta on 9/23/2022. (lcapm1) (Entered: 09/23/2022)
09/23/2022           339 Second MOTION to Change Venue Jointly by KELLY MEGGS as to ELMER
                         STEWART RHODES, III, KELLY MEGGS, KENNETH HARRELSON, JESSICA
                         WATKINS, THOMAS EDWARD CALDWELL. (Attachments: # 1 Exhibit, # 2
                         Text of Proposed Order)(Haller, Juli) (Entered: 09/23/2022)
09/25/2022           341 Joint MOTION in Limine , Partial MOTION for Reconsideration re 322 Order on
                         Motion in Limine, by KELLY MEGGS as to ELMER STEWART RHODES, III,
                         KELLY MEGGS, KENNETH HARRELSON, JESSICA WATKINS, THOMAS
                         EDWARD CALDWELL. (Haller, Juli) (Entered: 09/25/2022)
09/27/2022                 Minute Entry for proceedings held before Judge Amit P. Mehta: Jury Selection as to
                           ELMER STEWART RHODES, III (1), KELLY MEGGS (2), KENNETH
                           HARRELSON (3), JESSICA WATKINS (4), and THOMAS EDWARD
                           CALDWELL (10) began and held on 9/27/2022. Jury Selection shall resume on
                           9/28/2022 at 9:30 AM in Courtroom 23 before Judge Amit P. Mehta. Bond Status of
                           Defendants: Rhodes (1) remains in-custody, Meggs (2) remains in-custody,
                           Harrelson (3) remains in-custody, Watkins (4) remains in-custody, and Caldwell
                           (10) remains on personal recognizance; Court Reporters: William Zaremba (A.M.)
                           and Nancy Meyer (P.M.); Defense Attorneys: Phillip Linder (1), James Lee Bright
                           (1), Edward Tarpley (1), Juli Haller (2) Stanley Woodward (2), Bradford Geyer (3),
                           Jonathan Crisp (4), and David Fischer (10); US Attorneys: Kathryn Rakoczy, Jeffrey
                           Nestler, Alexandra Hughes, Troy Edwards, and Louis Manzo. (zjd) (Entered:
                           09/27/2022)
09/28/2022                 Minute Entry for proceedings held before Judge Amit P. Mehta: Jury Selection (Day
                           2) as to ELMER STEWART RHODES, III (1), KELLY MEGGS (2), KENNETH
                           HARRELSON (3), JESSICA WATKINS (4), and THOMAS EDWARD
                           CALDWELL (10) resumed and held on 9/28/2022. Jury Selection shall resume on
                           9/29/2022 at 9:30 AM in Courtroom 23 before Judge Amit P. Mehta. Bond Status of
                           Defendants: Rhodes (1) remains in-custody, Meggs (2) remains in-custody,
                           Harrelson (3) remains in-custody, Watkins (4) remains in-custody, and Caldwell
                           (10) remains on personal recognizance; Court Reporters: William Zaremba (AM)
                           and Lisa Edwards (PM); Defense Attorneys: Phillip Linder (1), James Lee Bright
                           (1), Edward Tarpley (1), Juli Haller (2) Stanley Woodward (2), Bradford Geyer (3),
                           Jonathan Crisp (4), and David Fischer (10); US Attorneys: Jeffrey Nestler and
                           Kathryn Rakoczy. (zjd) (Entered: 09/28/2022)
09/29/2022                 Minute Entry for proceedings held before Judge Amit P. Mehta: Jury Selection as to
                           ELMER STEWART RHODES, III (1), KELLY MEGGS (2), KENNETH
                           HARRELSON (3), JESSICA WATKINS (4), THOMAS EDWARD CALDWELL
                           (10) resumed and held on 9/29/2022. Panel of twelve (12) jurors and four (4)
                           alternate jurors selected, but not sworn. Jury Trial set for 10/3/2022 at 9:00 AM in
                           Courtroom 23 before Judge Amit P. Mehta. Bond Status of Defendants: Rhodes (1)
                           remains in-custody, Meggs (2) remains in-custody, Harrelson (3) remains in-
                           custody, Watkins (4) remains in-custody, and Caldwell (10) remains on personal
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                          recognizance; Court Reporters: William Zaremba (AM) and Nancy Meyer (PM);
                          Defense Attorneys: Phillip Linder (1), James Lee Bright (1), Edward Tarpley (1),
                          Juli Haller (2) Stanley Woodward (2), Bradford Geyer (3), Jonathan Crisp (4), and
                          David Fischer (10); US Attorneys: Jeffrey Nestler, Kathryn Rakoczy, Alexandra
                          Hughes, and Louis Manzo. (zjd) (Entered: 09/29/2022)
09/30/2022                 MINUTE ORDER denying Defendant ELMER STEWART RHODES III's (1) 325
                           Motion for Disclosure of Brady Exculpatory Information and Issuance of
                           Subpoenas Duces Tecum Concerning Witnesses to be Called by the Prosecution and
                           granting in part and denying in part Defendant KELLY MEGGS's (2) 353 Motion to
                           Join and Adopt and Motion for Discovery. Defendants' motions for Rule 17(c)
                           subpoenas are denied for the reasons stated on the record at yesterday's proceedings.
                           Defendant KELLY MEGGS's (2) motion to join is granted. Signed by Judge Amit P.
                           Mehta on 9/30/2022. (lcapm1) (Entered: 09/30/2022)
09/30/2022           358 ORDER denying Defendants' Joint 340 Motion for Reconsideration. See the
                         attached Order for additional details. Signed by Judge Amit P. Mehta on 9/30/2022.
                         (lcapm1) (Entered: 09/30/2022)
10/02/2022           362 Joint MOTION to Change Venue by Defendants by KELLY MEGGS as to ELMER
                         STEWART RHODES, III, KELLY MEGGS, KENNETH HARRELSON, JESSICA
                         WATKINS, THOMAS EDWARD CALDWELL. (Attachments: # 1 Text of
                         Proposed Order)(Haller, Juli) (Entered: 10/02/2022)
10/02/2022           363 Second MOTION in Limine Regarding Hand Grenades by KENNETH
                         HARRELSON as to ELMER STEWART RHODES, III, KELLY MEGGS,
                         KENNETH HARRELSON, JESSICA WATKINS, JOSHUA JAMES, ROBERTO A.
                         MINUTA, JOSEPH HACKETT, DAVID MOERSCHEL, BRIAN ULRICH,
                         THOMAS EDWARD CALDWELL, EDWARD VALLEJO. (Attachments: # 1
                         Exhibit DNA test)(Geyer, Bradford) (Entered: 10/02/2022)
10/03/2022                 Minute Entry for proceedings held before Judge Amit P. Mehta: Jury Trial as to
                           ELMER STEWART RHODES, III (1), KELLY MEGGS (2), KENNETH
                           HARRELSON (3), JESSICA WATKINS (4), and THOMAS EDWARD
                           CALDWELL (10) held on 10/3/2022. Panel of twelve (12) jurors and four (4)
                           alternate jurors selected and sworn. Jury Trial shall resume on 10/4/2022 at 9:30
                           AM in Courtroom 23 before Judge Amit P. Mehta. Trial proceedings will start at
                           9:00 AM if there are any preliminary issues. Bond Status of Defendants: Rhodes (1)
                           remains in-custody, Meggs (2) remains in-custody, Harrelson (3) remains in-
                           custody, Watkins (4) remains in-custody, and Caldwell (10) remains on personal
                           recognizance; Court Reporters: William Zaremba (AM) and Lisa Edwards (PM);
                           Defense Attorneys: Phillip Linder (1), James Lee Bright (1), Edward Tarpley (1),
                           Juli Haller (2) Stanley Woodward (2), Bradford Geyer (3), Jonathan Crisp (4), and
                           David Fischer (10); US Attorney: Jeffrey Nestler, Kathryn Rakoczy, Alexandra
                           Hughes, Troy Edwards, and Louis Manzo; Government Witness: Special Agent
                           Michael Palian. (zjd) (Entered: 10/03/2022)
10/03/2022                 MINUTE ORDER as to ELMER STEWART RHODES, III (1), KELLY MEGGS
                           (2), KENNETH HARRELSON (3), JESSICA WATKINS (4), and THOMAS
                           EDWARD CALDWELL (10). The Court having impaneled the jury in this action, it
                           is hereby ORDERED that during trial and deliberations all meals for said jury shall
                           be paid by the Clerk of the Court for the U.S. District Court for the District of
                           Columbia. Approved by Judge Amit P. Mehta on 10/3/2022. (zjd) (Entered:
                           10/03/2022)
10/04/2022                 Minute Entry for proceedings held before Judge Amit P. Mehta: Jury Trial as to
                           ELMER STEWART RHODES, III (1), KELLY MEGGS (2), KENNETH
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                          HARRELSON (3), JESSICA WATKINS (4), and THOMAS EDWARD
                          CALDWELL (10) held on 10/4/2022. Same twelve (12) jurors and four (4)
                          alternates. Jury Trial shall resume on Thursday, October 6, 2022 at 9:30 AM in
                          Courtroom 23 before Judge Amit P. Mehta. Trial proceedings will start at 9:00 AM
                          if there are any preliminary issues. Bond Status of Defendants: Rhodes (1) remains
                          in-custody, Meggs (2) remains in-custody, Harrelson (3) remains in-custody,
                          Watkins (4) remains in-custody, and Caldwell (10) remains on personal
                          recognizance; Court Reporters: William Zaremba (AM) and Nancy Meyer (PM);
                          Defense Attorneys: Phillip Linder (1), James Lee Bright (1), Edward Tarpley (1),
                          Juli Haller (2) Stanley Woodward (2), Bradford Geyer (3), Jonathan Crisp (4), and
                          David Fischer (10); US Attorneys: Jeffrey Nestler, Kathryn Rakoczy, Alexandra
                          Hughes, Troy Edwards, and Louis Manzo; Government Witness: Special Agent
                          Michael Palian. (zjd) (Entered: 10/04/2022)
10/06/2022           367 MOTION in Limine to Admit Certain Evidence by USA as to ELMER STEWART
                         RHODES, III, KELLY MEGGS, KENNETH HARRELSON, JESSICA WATKINS,
                         THOMAS EDWARD CALDWELL. (Edwards, Troy) (Entered: 10/06/2022)
10/06/2022                 NOTICE OF HEARING as to ELMER STEWART RHODES, III (1), KELLY
                           MEGGS (2), KENNETH HARRELSON (3), JESSICA WATKINS (4), and
                           THOMAS EDWARD CALDWELL (10): Trial proceedings will start today (10/6) at
                           9:15 AM in Courtroom 23 before Judge Amit P. Mehta. (zjd) (Entered: 10/06/2022)
10/06/2022                 MINUTE ORDER granting Government's Unopposed 366 Motion for Extension of
                           Time to Provide Supplemental 404(b) Notice as to Defendants ROBERTO A.
                           MINUTA (6), JOSEPH HACKETT (7), DAVID MOERSCHEL (8), and EDWARD
                           VALLEJO (11). The government shall supplement its Rule 404(b) Notice for the
                           November Trial Group by October 17, 2022. Signed by Judge Amit P. Mehta on
                           10/6/2022. (lcapm1) (Entered: 10/06/2022)
10/06/2022                 Minute Entry for proceedings held before Judge Amit P. Mehta: Jury Trial as to
                           ELMER STEWART RHODES, III (1), KELLY MEGGS (2), KENNETH
                           HARRELSON (3), JESSICA WATKINS (4), and THOMAS EDWARD
                           CALDWELL (1) held on 10/6/2022. Same twelve (12) jurors and four (4) alternate
                           jurors. Jury Trial shall resume on 10/7/2022 at 9:30 AM in Courtroom 23 before
                           Judge Amit P. Mehta. Proceedings may start prior to 9:30 AM if there are any
                           preliminary matters. Bond Status of Defendants: Rhodes (1) remains in-custody,
                           Meggs (2) remains in-custody, Harrelson (3) remains in-custody, Watkins (4)
                           remains in-custody, and Caldwell (10) remains on personal recognizance; Court
                           Reporters: William Zaremba (A.M.) and Nancy Meyer (P.M.); Defense Attorneys:
                           Phillip Linder (1), James Lee Bright (1), Edward Tarpley (1), Juli Haller (2) Stanley
                           Woodward (2), Bradford Geyer (3), Jonathan Crisp (4), and David Fischer (10); US
                           Attorney: Jeffrey Nestler, Kathryn Rakoczy, Alexandra Hughes, Troy Edwards, and
                           Louis Manzo; Government Witnesses: Special Agent Michael Palian, J.Z., A.R.,
                           M.A. (zjd) (Entered: 10/06/2022)
10/07/2022                 Minute Entry for proceedings held before Judge Amit P. Mehta: Jury Trial as to
                           ELMER STEWART RHODES, III (1), KELLY MEGGS (2), KENNETH
                           HARRELSON (3), JESSICA WATKINS (4), and THOMAS EDWARD
                           CALDWELL (10) held on 10/7/2022. Same twelve (12) jurors and four (4)
                           alternates. Jury Trial shall resume on 10/11/2022 at 9:00 AM in Courtroom 23
                           before Judge Amit P. Mehta. Bond Status of Defendants: Rhodes (1) remains in-
                           custody, Meggs (2) remains in-custody, Harrelson (3) remains in-custody, Watkins
                           (4) remains in-custody, and Caldwell (10) remains on personal recognizance; Court
                           Reporter: William Zaremba; Defense Attorneys: Phillip Linder (1), James Lee
                           Bright (1), Edward Tarpley (1), Juli Haller (2) Stanley Woodward (2), Bradford
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                          Geyer (3), Jonathan Crisp (4), and David Fischer (10); US Attorneys: Jeffrey
                          Nestler, Kathryn Rakoczy, Alexandra Hughes, Troy Edwards, and Louis Manzo;
                          Government Witnesses: Special Agent Ryan McCamley and Special Agent Byron
                          Cody. (zjd) (Entered: 10/07/2022)
10/10/2022           369 MOTION in Limine Concerning Certain Statements and the Attorney-Client
                         Privilege by USA as to ELMER STEWART RHODES, III, KELLY MEGGS,
                         KENNETH HARRELSON, JESSICA WATKINS, THOMAS EDWARD
                         CALDWELL. (Edwards, Troy) (Entered: 10/10/2022)
10/11/2022                Minute Entry for proceedings held before Judge Amit P. Mehta: Jury Trial as to
                          ELMER STEWART RHODES, III (1), KELLY MEGGS (2), KENNETH
                          HARRELSON (3), JESSICA WATKINS (4), and THOMAS EDWARD
                          CALDWELL (10) held on 10/11/2022. Same twelve (12) jurors and four (4)
                          alternates. Jury Trial shall resume on 10/12/2022 at 9:30 AM in Courtroom 23
                          before Judge Amit P. Mehta. Proceedings may start prior to 9:30 AM if there are any
                          preliminary matters. Bond Status of Defendants: Rhodes (1) remains in-custody,
                          Meggs (2) remains in-custody, Harrelson (3) remains in-custody, Watkins (4)
                          remains in-custody, and Caldwell (10) remains on personal recognizance; Court
                          Reporters: William Zaremba (A.M.) and Lisa Edwards (P.M.); Defense Attorneys:
                          Phillip Linder (1), James Lee Bright (1), Edward Tarpley (1), Juli Haller (2) Stanley
                          Woodward (2), Bradford Geyer (3), Jonathan Crisp (4), and David Fischer (10); US
                          Attorneys: Jeffrey Nestler, Kathryn Rakoczy, Alexandra Hughes, Troy Edwards, and
                          Louis Manzo; Government Witnesses: Special Agent Byron Cody and Special
                          Agent Justin Eller. (zjd) (Entered: 10/11/2022)
10/12/2022                Minute Entry for proceedings held before Judge Amit P. Mehta: Jury Trial as to
                          ELMER STEWART RHODES, III (1), KELLY MEGGS (2), KENNETH
                          HARRELSON (3), JESSICA WATKINS (4), and THOMAS EDWARD
                          CALDWELL (10) held on 10/12/2022. Same twelve (12) jurors and four (4)
                          alternates. Jury Trial shall resume on 10/13/2022 at 9:15 AM in Courtroom 23
                          before Judge Amit P. Mehta. Bond Status of Defendants: Rhodes (1) remains in-
                          custody, Meggs (2) remains in-custody, Harrelson (3) remains in-custody, Watkins
                          (4) remains in-custody, and Caldwell (10) remains on personal recognizance; Court
                          Reporters: William Zaremba (A.M.) and Lisa Edwards (P.M.); Defense Attorneys:
                          Phillip Linder (1), James Lee Bright (1), Edward Tarpley (1), Juli Haller (2) Stanley
                          Woodward (2), Bradford Geyer (3), Jonathan Crisp (4), and David Fischer (10); US
                          Attorneys: Jeffrey Nestler, Kathryn Rakoczy, Alexandra Hughes, Troy Edwards, and
                          Louis Manzo; Government Witnesses: Special Agent Justin Eller, Special Agent
                          Joanna Abrams, T.C., and Special Agent Kelsey Harris. (zjd) (Entered: 10/12/2022)
10/13/2022           372 ORDER granting 371 Consent Motion to Modify Conditions of Release as to
                         JOSHUA JAMES (5). See the attached Order for additional details. Signed by Judge
                         Amit P. Mehta on 10/13/2022. (lcapm1) (Entered: 10/13/2022)
10/13/2022                Minute Entry for proceedings held before Judge Amit P. Mehta: Jury Trial as to
                          ELMER STEWART RHODES, III (1), KELLY MEGGS (2), KENNETH
                          HARRELSON (3), JESSICA WATKINS (4), THOMAS EDWARD CALDWELL
                          (10) held on 10/13/2022. Same twelve (12) jurors and four (4) alternates. Jury Trial
                          shall resume on 10/14/2022 at 9:15 AM in Courtroom 23 before Judge Amit P.
                          Mehta. Bond Status of Defendants: Rhodes (1) remains in-custody, Meggs (2)
                          remains in-custody, Harrelson (3) remains in-custody, Watkins (4) remains in-
                          custody, and Caldwell (10) remains on personal recognizance; Court Reporters:
                          William Zaremba (A.M.) and Lisa Edwards (P.M.); Defense Attorneys: Phillip
                          Linder (1), James Lee Bright (1), Edward Tarpley (1), Juli Haller (2) Stanley
                          Woodward (2), Bradford Geyer (3), Jonathan Crisp (4), and David Fischer (10); US
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                          Attorneys: Jeffrey Nestler, Kathryn Rakoczy, Alexandra Hughes, Troy Edwards, and
                          Louis Manzo; Government Witnesses: Special Agent Kelsey Harris, Special Agent
                          Craig Arney, Special Agent Jennifer Banks. (zjd) (Entered: 10/13/2022)
10/14/2022                Minute Entry for proceedings held before Judge Amit P. Mehta: Jury Trial as to
                          ELMER STEWART RHODES, III, KELLY MEGGS, KENNETH HARRELSON,
                          JESSICA WATKINS, THOMAS EDWARD CALDWELL held on 10/14/2022.
                          Same twelve (12) jurors and four (4) alternates. Jury Trial shall resume on
                          10/17/2022 at 09:30 AM in Courtroom 23 before Judge Amit P. Mehta. Bond Status
                          of Defendants: Rhodes (1) remains in-custody, Meggs (2) remains in-custody,
                          Harrelson (3) remains in-custody, Watkins (4) remains in-custody, and Caldwell
                          (10) remains on personal recognizance; Court Reporter: William Zaremba; Defense
                          Attorneys: Phillip Linder (1), James Lee Bright (1), Edward Tarpley (1), Juli Haller
                          (2) Stanley Woodward (2), Bradford Geyer (3), Jonathan Crisp (4), and David
                          Fischer (10); US Attorneys: Jeffrey Nestler, Kathryn Rakoczy, Alexandra Hughes,
                          Troy Edwards, and Louis Manzo; Government Witnesses: Special Agent Jennifer
                          Banks, Special Agent Sylvia Hilgeman. (zjd) (Entered: 10/14/2022)
10/17/2022                Minute Entry for proceedings held before Judge Amit P. Mehta: Jury Trial as to
                          ELMER STEWART RHODES, III (1), KELLY MEGGS (2), KENNETH
                          HARRELSON (3), JESSICA WATKINS (4), and THOMAS EDWARD
                          CALDWELL (10) held on 10/17/2022. Same twelve (12) jurors and four (4)
                          alternates. Jury Trial shall resume on 10/18/2022 at 9:30 AM in Courtroom 23
                          before Judge Amit P. Mehta. Proceedings may start prior to 9:30 AM if there are any
                          preliminary matters. Bond Status of Defendants: Rhodes (1) remains in-custody,
                          Meggs (2) remains in-custody, Harrelson (3) remains in-custody, Watkins (4)
                          remains in-custody, and Caldwell (10) remains on personal recognizance; Court
                          Reporters: William Zaremba (A.M.) and Lisa Edwards (P.M.); Defense Attorneys:
                          Phillip Linder (1), James Lee Bright (1), Edward Tarpley (1), Juli Haller (2) Stanley
                          Woodward (2), Bradford Geyer (3), Jonathan Crisp (4), and David Fischer (10); US
                          Attorneys: Jeffrey Nestler, Kathryn Rakoczy, Alexandra Hughes, Troy Edwards, and
                          Louis Manzo; Government Witnesses: Special Agent Sylvia Hilgeman, M.L. (zjd)
                          (Entered: 10/17/2022)
10/18/2022                Minute Entry for proceedings held before Judge Amit P. Mehta: Jury Trial as to
                          ELMER STEWART RHODES, III (1), KELLY MEGGS (2), KENNETH
                          HARRELSON (3), JESSICA WATKINS (4), and THOMAS EDWARD
                          CALDWELL (10) held on 10/18/2022. The juror in seat 13 (Juror #1542) was
                          excused and replaced by an alternate juror. Twelve (12) jurors and three (3)
                          alternates now remain. Jury Trial shall resume on 10/19/2022 at 9:30 AM in
                          Courtroom 23 before Judge Amit P. Mehta. Proceedings may start prior to 9:30 AM
                          if there are any preliminary matters. Bond Status of Defendants: Rhodes (1) remains
                          in-custody, Meggs (2) remains in-custody, Harrelson (3) remains in-custody,
                          Watkins (4) remains in-custody, and Caldwell (10) remains on personal
                          recognizance; Court Reporters: William Zaremba (A.M.) and Nancy Meyer (P.M.);
                          Defense Attorneys: Phillip Linder (1), James Lee Bright (1), Edward Tarpley (1),
                          Juli Haller (2) Stanley Woodward (2), Bradford Geyer (3), Jonathan Crisp (4), and
                          David Fischer (10); US Attorneys: Jeffrey Nestler, Kathryn Rakoczy, Alexandra
                          Hughes, Troy Edwards, and Louis Manzo; Government Witnesses: Special Agent
                          Sylvia Hilgeman, Captain Ronald Ortega, and Jason Dolan. (zjd) (Entered:
                          10/18/2022)
10/19/2022                Minute Entry for proceedings held before Judge Amit P. Mehta: Jury Trial as to
                          ELMER STEWART RHODES, III (1), KELLY MEGGS (2), KENNETH
                          HARRELSON (3), JESSICA WATKINS (4), and THOMAS EDWARD
                          CALDWELL (10) held on 10/19/2022. Same twelve (12) jurors and three (3)
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                          alternates. Jury Trial shall resume on 10/20/2022 at 9:30 AM in Courtroom 23
                          before Judge Amit P. Mehta. Proceedings may start prior to 9:30 AM if there are any
                          preliminary matters. Bond Status of Defendants: Rhodes (1) remains in-custody,
                          Meggs (2) remains in-custody, Harrelson (3) remains in-custody, Watkins (4)
                          remains in-custody, and Caldwell (10) remains on personal recognizance; Court
                          Reporters: William Zaremba (A.M.) and Lisa Edwards (P.M.); Defense Attorneys:
                          Phillip Linder (1), James Lee Bright (1), Edward Tarpley (1), Juli Haller (2) Stanley
                          Woodward (2), Bradford Geyer (3), Jonathan Crisp (4), and David Fischer (10); US
                          Attorneys: Jeffrey Nestler, Kathryn Rakoczy, Alexandra Hughes, Troy Edwards, and
                          Louis Manzo; Government Witnesses: Jason Dolan and Thomas Wickham. (zjd)
                          (Entered: 10/19/2022)
10/20/2022                 Minute Entry for proceedings held before Judge Amit P. Mehta: Jury Trial as to
                           ELMER STEWART RHODES, III (1), KELLY MEGGS (2), KENNETH
                           HARRELSON (3), JESSICA WATKINS (4), and THOMAS EDWARD
                           CALDWELL (10) held on 10/20/2022. Same twelve (12) jurors and three (3)
                           alternates. Jury Trial shall resume on 10/21/2022 at 9:00 AM in Courtroom 23
                           before Judge Amit P. Mehta. Bond Status of Defendants: Rhodes (1) remains in-
                           custody, Meggs (2) remains in-custody, Harrelson (3) remains in-custody, Watkins
                           (4) remains in-custody, and Caldwell (10) remains on personal recognizance; Court
                           Reporters: William Zaremba (A.M.) and Nancy Meyer (P.M.); Defense Attorneys:
                           Phillip Linder (1), James Lee Bright (1), Edward Tarpley (1), Juli Haller (2) Stanley
                           Woodward (2), Bradford Geyer (3), Jonathan Crisp (4), and David Fischer (10); US
                           Attorneys: Jeffrey Nestler, Kathryn Rakoczy, Alexandra Hughes, Troy Edwards, and
                           Louis Manzo; Government Witness: Special Agent Whitney Drew. (zjd) (Entered:
                           10/20/2022)
10/21/2022                 Minute Entry for proceedings held before Judge Amit P. Mehta: Jury Trial as to
                           ELMER STEWART RHODES, III (1), KELLY MEGGS (2), KENNETH
                           HARRELSON (3), JESSICA WATKINS (4), and THOMAS EDWARD
                           CALDWELL (10) held on 10/21/2022. Same twelve (12) jurors and three (3)
                           alternates. Jury Trial shall resume on 10/24/2022 at 9:30 AM in Courtroom 23
                           before Judge Amit P. Mehta. Bond Status of Defendants: Rhodes (1) remains in-
                           custody, Meggs (2) remains in-custody, Harrelson (3) remains in-custody, Watkins
                           (4) remains in-custody, and Caldwell (10) remains on personal recognizance; Court
                           Reporters: William Zaremba (A.M.) and Nancy Meyer (P.M.); Defense Attorneys:
                           Phillip Linder (1), James Lee Bright (1), Edward Tarpley (1), Juli Haller (2) Stanley
                           Woodward (2), Bradford Geyer (3), Jonathan Crisp (4), and David Fischer (10); US
                           Attorneys: Jeffrey Nestler, Kathryn Rakoczy, Alexandra Hughes, Troy Edwards, and
                           Louis Manzo; Government Witness: Special Agent Whitney Drew. (zjd) (Entered:
                           10/21/2022)
10/24/2022                 NOTICE OF HEARING as to ELMER STEWART RHODES, III (1), KELLY
                           MEGGS (2), KENNETH HARRELSON (3), JESSICA WATKINS (4), THOMAS
                           EDWARD CALDWELL (10): Status Conference set for 10/24/2022 at 4:45 PM via
                           Zoom before Judge Amit P. Mehta. Members of the public may access the
                           conference by dialing the court's toll-free public access line: (877) 848-7030, access
                           code 321-8747. The public access line will be muted and should only be used by
                           non-participating parties.(zjd) (Entered: 10/24/2022)
10/24/2022                 Minute Entry for proceedings held before Judge Amit P. Mehta: Jury Trial as to
                           ELMER STEWART RHODES, III (1), KELLY MEGGS (2), KENNETH
                           HARRELSON (3), JESSICA WATKINS (4), and THOMAS EDWARD
                           CALDWELL (10) held on 10/24/2022. Defendant Rhodes and the jury panel were
                           not present for these proceedings. Bond Status of Defendants: Rhodes (1) remains
                           in-custody, Meggs (2) remains in-custody, Harrelson (3) remains in-custody,
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                          Watkins (4) remains in-custody, and Caldwell (10) remains on personal
                          recognizance; Court Reporter: William Zaremba; Defense Attorneys: Phillip Linder
                          (1), James Lee Bright (1), Edward Tarpley (1), Juli Haller (2), Bradford Geyer (3),
                          Jonathan Crisp (4), and David Fischer (10); US Attorneys: Jeffrey Nestler, Kathryn
                          Rakoczy, Alexandra Hughes, Troy Edwards, and Louis Manzo. (zjd) (Entered:
                          10/26/2022)
10/25/2022                 NOTICE OF HEARING as to ELMER STEWART RHODES, III (1), KELLY
                           MEGGS (2), KENNETH HARRELSON (3), JESSICA WATKINS (4), and
                           THOMAS EDWARD CALDWELL (10): Jury Trial shall resume on 10/25/2022 at
                           9:00 AM in Courtroom 23 before Judge Amit P. Mehta. (zjd) (Entered: 10/25/2022)
10/25/2022                 Minute Entry for proceedings held before Judge Amit P. Mehta: Jury Trial as to
                           ELMER STEWART RHODES, III (1), KELLY MEGGS (2), KENNETH
                           HARRELSON (3), JESSICA WATKINS (4), and THOMAS EDWARD
                           CALDWELL (10) held on 10/25/2022. Same twelve (12) jurors and three (3)
                           alternates. Jury Trial shall resume on 10/26/2022 at 9:30 AM in Courtroom 23
                           before Judge Amit P. Mehta. Bond Status of Defendants: Rhodes (1) appearance
                           waived/remains in-custody, Meggs (2) remains in-custody, Harrelson (3) remains in-
                           custody, Watkins (4) remains in-custody, and Caldwell (10) remains on personal
                           recognizance; Court Reporters: William Zaremba (A.M.) and Nancy Meyer (P.M.);
                           Defense Attorneys: Phillip Linder (1), James Lee Bright (1), Edward Tarpley (1),
                           Juli Haller (2), Bradford Geyer (3), Jonathan Crisp (4), and David Fischer (10); US
                           Attorneys: Jeffrey Nestler, Kathryn Rakoczy, Alexandra Hughes, Troy Edwards, and
                           Louis Manzo; Government Witnesses: Special Agent Drew and Deputy Ryan Salke.
                           (zjd) (Entered: 10/26/2022)
10/26/2022                 Minute Entry for proceedings held before Judge Amit P. Mehta: Jury Trial as to
                           ELMER STEWART RHODES, III (1), KELLY MEGGS (2), KENNETH
                           HARRELSON (3), JESSICA WATKINS (4), and THOMAS EDWARD
                           CALDWELL (10) held on 10/26/2022. Same twelve (12) jurors and three (3)
                           alternates. Jury Trial shall resume on Monday, October 31, 2022 at 9:30 AM before
                           Judge Amit P. Mehta. Bond Status of Defendants: Rhodes (1) appearance
                           waived/remains in-custody, Meggs (2) remains in-custody, Harrelson (3) remains in-
                           custody, Watkins (4) remains in-custody, and Caldwell (10) remains on personal
                           recognizance; Court Reporters: William Zaremba (A.M.) and Lisa Edwards (P.M.);
                           Defense Attorneys: Phillip Linder (1), James Lee Bright (1), Juli Haller(2), Bradford
                           Geyer (3), Jonathan Crisp (4), and David Fischer (10); US Attorneys: Jeffrey
                           Nestler, Kathryn Rakoczy, Alexandra Hughes, Troy Edwards, and Louis Manzo;
                           Government Witnesses: Special Agent Lanelle Hawa, Officer Christopher Owens,
                           J.M. (zjd) (Entered: 10/26/2022)
10/28/2022           377 ORDER as to defendants ROBERTO A. MINUTA, JOSEPH HACKETT, DAVID
                         MOERSCHEL, and EDWARD VALLEJO. The court's 286 Amended Pretrial Order
                         is hereby modified as follows: (1) Trial will now commence on December 5, 2022,
                         at 9:30 a.m. The court will not sit on December 26--30, 2022; (2) Motions in limine
                         shall be filed by November 7, 2022; (3) oppositions shall be filed November 16,
                         2022; and (4) replies shall be filed by November 21, 2022. (5) The government shall
                         make any remaining Jencks/Brady disclosures by November 18, 2022; (6) Counsel
                         shall appear for a status conference to finalize the jury questionnaire on November
                         7, 2022, at 5:15 p.m. (7) Prospective jurors for the December trial will appear on
                         November 10, 2022, to answer the final questionnaire. (8) After prospective jurors
                         answer the questionnaire, the parties shall file under seal their respective lists of
                         jurors they believe should be stricken for cause by November 17, 2022. Jurors shall
                         be identified only by juror number. (9) Counsel shall then appear on November 21,
                         2022, at 2:00 p.m. to discuss those lists and for the court to make final rulings. (10)
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                          The Joint Pretrial Statement as to the December Trial Group shall be due November
                          18, 2022. (11) The Pretrial Conference for the December Trial Group shall be held
                          on November 23, 2022, at 9:30 a.m., in Courtroom 10. See the attached Order for
                          additional details. Signed by Judge Amit P. Mehta on 10/28/2022. (lcapm1)
                          (Entered: 10/28/2022)
10/31/2022                 Minute Entry for proceedings held before Judge Amit P. Mehta: Jury Trial as to
                           ELMER STEWART RHODES, III (1), KELLY MEGGS (2), KENNETH
                           HARRELSON (3), JESSICA WATKINS (4), and THOMAS EDWARD
                           CALDWELL (10) held on 10/31/2022. Same twelve (12) jurors and three (3)
                           alternates. Jury Trial shall resume on 11/1/2022 at 9:30 AM in Courtroom 23 before
                           Judge Amit P. Mehta. Bond Status of Defendants: Rhodes (1) remains in-custody,
                           Meggs (2) remains in-custody, Harrelson (3) remains in-custody, Watkins (4)
                           remains in-custody, and Caldwell (10) remains on personal recognizance; Court
                           Reporters: William Zaremba (A.M.) and Jeff Hook (P.M.); Defense Attorneys:
                           Phillip Linder (1), James Lee Bright (1), Edward Tarpley (1), Juli Haller (2),
                           Bradford Geyer (3), Jonathan Crisp (4), and David Fischer (10); US Attorneys:
                           Jeffrey Nestler, Kathryn Rakoczy, Alexandra Hughes, Troy Edwards, and Louis
                           Manzo; Government Witnesses: Officer Harry Dunn, Special Agent David Lazarus,
                           E.T., and Graydon Young. (zjd) (Entered: 10/31/2022)
11/01/2022                 Minute Entry for proceedings held before Judge Amit P. Mehta: Jury Trial as to
                           ELMER STEWART RHODES, III (1), KELLY MEGGS (2), KENNETH
                           HARRELSON (3), JESSICA WATKINS (4), and THOMAS EDWARD
                           CALDWELL (10) held on 11/1/2022. Same twelve (12) jurors and three (3)
                           alternates. Jury Trial shall resume on 11/2/2022 at 9:30 AM in Courtroom 23 before
                           Judge Amit P. Mehta. Bond Status of Defendants: Rhodes (1) remains in-custody,
                           Meggs (2) remains in-custody, Harrelson (3) remains in-custody, Watkins (4)
                           remains in-custody, and Caldwell (10) remains on personal recognizance; Court
                           Reporters: William Zaremba (A.M.) and Jeff Hook (P.M.); Defense Attorneys:
                           Phillip Linder (1), James Lee Bright (1), Edward Tarpley (1), Juli Haller (2),
                           Bradford Geyer (3), Jonathan Crisp (4), and David Fischer (10); US Attorneys:
                           Jeffrey Nestler, Kathryn Rakoczy, Alexandra Hughes, Troy Edwards, and Louis
                           Manzo; Government Witnesses: Special Agent Kelsey Harris, T.H. (zjd) (Entered:
                           11/01/2022)
11/02/2022           380 Proposed Jury Instructions by USA as to ELMER STEWART RHODES, III,
                         KELLY MEGGS, KENNETH HARRELSON, JESSICA WATKINS, THOMAS
                         EDWARD CALDWELL (Attachments: # 1 Supplement - Joint Proposed Final Jury
                         Instructions Submitted with Joint Pretrial Statement (9/9/22), # 2 Supplement - Joint
                         Proposed Preliminary Jury Instructions Submitted with Joint Pretrial Statement
                         (9/9/22))(Nestler, Jeffrey) (Entered: 11/02/2022)
11/02/2022           381 PROPOSED VERDICT FORM as to ELMER STEWART RHODES, III, KELLY
                         MEGGS, KENNETH HARRELSON, JESSICA WATKINS, THOMAS EDWARD
                         CALDWELL (Attachments: # 1 Supplement Joint Proposed Verdict Form
                         Submitted with Joint Pretrial Statement (9/9/22))(Nestler, Jeffrey) (Entered:
                         11/02/2022)
11/02/2022                 Minute Entry for proceedings held before Judge Amit P. Mehta: Jury Trial as to
                           ELMER STEWART RHODES, III (1), KELLY MEGGS (2), KENNETH
                           HARRELSON (3), JESSICA WATKINS (4), and THOMAS EDWARD
                           CALDWELL (10) held on 11/2/2022. Same twelve (12) jurors and three (3)
                           alternates. Jury Trial shall resume on 11/3/2022 at 9:30 AM in Courtroom 23 before
                           Judge Amit P. Mehta. Bond Status of Defendants: Rhodes (1) remains in-custody,
                           Meggs (2) remains in-custody, Harrelson (3) remains in-custody, Watkins (4)
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                          remains in-custody, and Caldwell (10) remains on personal recognizance; Court
                          Reporters: William Zaremba; Defense Attorneys: Phillip Linder (1), James Lee
                          Bright (1), Edward Tarpley (1), Juli Haller (2), Stanley Woodward (2), Bradford
                          Geyer (3), Jonathan Crisp (4), and David Fischer (10); US Attorneys: Jeffrey
                          Nestler, Kathryn Rakoczy, Alexandra Hughes, Troy Edwards, and Louis Manzo;
                          Government Witnesses: Special Agent Kelsey Harris, J.A., Special Agent Jennifer
                          Banks, Special Agent John Moore. (zjd) (Entered: 11/02/2022)
11/03/2022                 Minute Entry for proceedings held before Judge Amit P. Mehta: Jury Trial as to
                           ELMER STEWART RHODES, III (1), KELLY MEGGS (2), KENNETH
                           HARRELSON (3), JESSICA WATKINS (4), and THOMAS EDWARD
                           CALDWELL (10) held on 11/3/2022. Same twelve (12) jurors and three (3)
                           alternates. The Government rests its case. Jury Trial shall resume on 11/4/2022 at
                           8:30 AM in Courtroom 23 before Judge Amit P. Mehta. Defense Attorneys: Phillip
                           Linder (1), James Lee Bright (1), Edward Tarpley (1), Juli Haller (2), Stanley
                           Woodward (2), Bradford Geyer (3), Jonathan Crisp (4), and David Fischer (10); US
                           Attorneys: Jeffrey Nestler, Kathryn Rakoczy, Alexandra Hughes, Troy Edwards, and
                           Louis Manzo; Government Witness: Special Agent John Moore; Defense Witness:
                           M.S. (zjd) (Entered: 11/03/2022)
11/03/2022           383 NOTICE of Opposition to Defendants' Motions for Judgments of Acquittal by USA
                         as to ELMER STEWART RHODES, III, KELLY MEGGS, KENNETH
                         HARRELSON, JESSICA WATKINS, THOMAS EDWARD CALDWELL
                         (Edwards, Troy) (Entered: 11/03/2022)
11/04/2022                 Minute Entry for proceedings held before Judge Amit P. Mehta: Jury Trial as to
                           ELMER STEWART RHODES, III (1), KELLY MEGGS (2), KENNETH
                           HARRELSON (3), JESSICA WATKINS (4), and THOMAS EDWARD
                           CALDWELL (10) held on 11/4/2022. Same twelve (12) jurors and three (3)
                           alternates. Jury Trial shall resume on 11/7/2022 at 9:30 AM in Courtroom 23 before
                           Judge Amit P. Mehta. Defense Attorneys: Phillip Linder (1), James Lee Bright (1),
                           Edward Tarpley (1), Juli Haller (2), Stanley Woodward (2), Bradford Geyer (3),
                           Jonathan Crisp (4), and David Fischer (10); US Attorneys: Jeffrey Nestler, Kathryn
                           Rakoczy, Alexandra Hughes, Troy Edwards, and Louis Manzo; Defense Witnesses:
                           M.S., Stewart Rhodes. (zjd) (Entered: 11/07/2022)
11/07/2022                 Minute Entry for proceedings held before Judge Amit P. Mehta: Jury Trial as to
                           ELMER STEWART RHODES, III (1), KELLY MEGGS (2), KENNETH
                           HARRELSON (3), JESSICA WATKINS (4), and THOMAS EDWARD
                           CALDWELL (10) held on 11/7/2022. Same twelve (12) jurors and three (3)
                           alternates. Jury Trial shall resume on 11/8/2022 at 9:30 AM in Courtroom 23 before
                           Judge Amit P. Mehta. Bond Status of Defendants: Rhodes (1) remains in-custody,
                           Meggs (2) remains in-custody, Harrelson (3) remains in-custody, Watkins (4)
                           remains in-custody, and Caldwell (10) remains on personal recognizance; Court
                           Reporters: William Zaremba (A.M.) and Lorraine Herman (P.M.); Defense
                           Attorneys: Phillip Linder (1), James Lee Bright (1), Edward Tarpley (1), Juli Haller
                           (2), Stanley Woodward (2), Bradford Geyer (3), Jonathan Crisp (4), and David
                           Fischer (10); US Attorneys: Jeffrey Nestler, Kathryn Rakoczy, Alexandra Hughes,
                           Troy Edwards, and Louis Manzo; Defense Witness: Stewart Rhodes. (zjd) (Entered:
                           11/07/2022)
11/08/2022                 Minute Entry for proceedings held before Judge Amit P. Mehta: Jury Trial as to
                           ELMER STEWART RHODES, III (1), KELLY MEGGS (2), KENNETH
                           HARRELSON (3), JESSICA WATKINS (4), and THOMAS EDWARD
                           CALDWELL (10) held on 11/8/2022. Same twelve (12) jurors and three (3)
                           alternates. Jury Trial shall resume on 11/9/2022 at 9:00 AM in Courtroom 23 before
             Case 1:22-cr-00015-APM Document 669 Filed 07/14/23 Page 35 of 55
                          Judge Amit P. Mehta. Bond Status of Defendants: Rhodes (1) remains in-custody,
                          Meggs (2) remains in-custody, Harrelson (3) remains in-custody, Watkins (4)
                          remains in-custody, and Caldwell (10) remains on personal recognizance; Court
                          Reporters: William Zaremba (A.M.) and Lorraine Herman (P.M.); Defense
                          Attorneys: Phillip Linder (1), James Lee Bright (1), Edward Tarpley (1), Stanley
                          Woodward (2), Bradford Geyer (3), Jonathan Crisp (4), and David Fischer (10); US
                          Attorneys: Jeffrey Nestler, Kathryn Rakoczy, Alexandra Hughes, Troy Edwards, and
                          Louis Manzo; Defense Witnesses: L.M., R.J., D.S. (zjd) (Entered: 11/08/2022)
11/09/2022                Minute Entry for proceedings held before Judge Amit P. Mehta: Jury Trial as to
                          ELMER STEWART RHODES, III (1), KELLY MEGGS (2), KENNETH
                          HARRELSON (3), JESSICA WATKINS (4), and THOMAS EDWARD
                          CALDWELL (10) held on 11/9/2022. Same twelve (12) jurors and three (3)
                          alternates. Charge Conference set for 11/10/2022 at 11:00 AM in Courtroom 23
                          before Judge Amit P. Mehta. Jury Trial shall resume on 11/14/2022 at 9:30 AM.
                          Bond Status of Defendants: Rhodes (1) remains in-custody, Meggs (2) remains in-
                          custody, Harrelson (3) remains in-custody, Watkins (4) remains in-custody, and
                          Caldwell (10) remains on personal recognizance; Court Reporters: William Zaremba
                          (A.M.) and Lorraine Herman (P.M.); Defense Attorneys: Phillip Linder (1), James
                          Lee Bright (1), Edward Tarpley (1), Stanley Woodward (2), Bradford Geyer (3),
                          Jonathan Crisp (4), and David Fischer (10); US Attorneys: Jeffrey Nestler, Kathryn
                          Rakoczy, Alexandra Hughes, Troy Edwards, and Louis Manzo; Defense Witnesses:
                          Michael Greene and S.B. (zjd) (Entered: 11/09/2022)
11/10/2022                Minute Entry for proceedings held before Judge Amit P. Mehta: Charge Conference
                          as to ELMER STEWART RHODES, III (1), KELLY MEGGS (2), KENNETH
                          HARRELSON (3), JESSICA WATKINS (4), and THOMAS EDWARD
                          CALDWELL (10) held on 11/10/2022. Jury Trial shall resume on 11/14/2022 at
                          9:30 AM in Courtroom 23 before Judge Amit P. Mehta. Bond Status of Defendants:
                          Rhodes (1) remains in-custody, Meggs (2) appearance waived/remains in-custody,
                          Harrelson (3) appearance waived/remains in-custody, Watkins (4) appearance
                          waived/remains in-custody, and Caldwell (10) appearance waived/remains on
                          personal recognizance; Court Reporters: William Zaremba; Defense Attorneys:
                          Phillip Linder (1), James Lee Bright (1), Edward Tarpley (1), Stanley Woodward
                          (2), Juli Haller (2), Bradford Geyer (3), Jonathan Crisp (4), and David Fischer (10);
                          US Attorneys: Jeffrey Nestler, Kathryn Rakoczy, Alexandra Hughes, Troy Edwards,
                          and Louis Manzo. (zjd) Modified list of defense counsel present on 11/14/2022
                          (zjd). (Entered: 11/13/2022)
11/14/2022                Minute Entry for proceedings held before Judge Amit P. Mehta: Jury Trial as to
                          ELMER STEWART RHODES, III (1), KELLY MEGGS (2), KENNETH
                          HARRELSON (3), JESSICA WATKINS (4), and THOMAS EDWARD
                          CALDWELL (10) held on 11/14/2022. Same twelve (12) jurors and three (3)
                          alternates. Jury Trial shall resume on 11/15/2022 at 9:30 AM in Courtroom 23
                          before Judge Amit P. Mehta. Bond Status of Defendants: Rhodes (1) remains in-
                          custody, Meggs (2) remains in-custody, Harrelson (3) remains in-custody, Watkins
                          (4) remains in-custody, and Caldwell (10) remains on personal recognizance; Court
                          Reporters: William Zaremba (A.M.) and Nancy Meyer (P.M.); Defense Attorneys:
                          Phillip Linder (1), James Lee Bright (1), Edward Tarpley (1), Stanley Woodward
                          (2), Juli Haller (2), Bradford Geyer (3), Jonathan Crisp (4), and David Fischer (10);
                          US Attorneys: Jeffrey Nestler, Kathryn Rakoczy, Alexandra Hughes, Troy Edwards,
                          and Louis Manzo; Defense Witnesses: J.R., J.G., and S.C. (zjd) (Entered:
                          11/14/2022)
11/15/2022           391 NOTICE REGARDING EXHIBITS FORMALLY MOVED INTO EVIDENCE AT
                         THE CONCLUSION OF THE GOVERNMENTS CASE AT TRIAL by USA as to
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                          ELMER STEWART RHODES, III, KELLY MEGGS, KENNETH HARRELSON,
                          THOMAS EDWARD CALDWELL (Rakoczy, Kathryn) (Entered: 11/15/2022)
11/15/2022              Minute Entry for proceedings held before Judge Amit P. Mehta: Jury Trial as to
                        ELMER STEWART RHODES, III (1), KELLY MEGGS (2), KENNETH
                        HARRELSON (3), JESSICA WATKINS (4), and THOMAS EDWARD
                        CALDWELL (10) held on 11/15/2022. Same twelve (12) jurors and three (3)
                        alternates. Jury Trial shall resume on 11/16/2022 at 8:00 AM in Courtroom 23
                        before Judge Amit P. Mehta. Bond Status of Defendants: Rhodes (1) remains in-
                        custody, Meggs (2) remains in-custody, Harrelson (3) remains in-custody, Watkins
                        (4) remains in-custody, and Caldwell (10) remains on personal recognizance; Court
                        Reporters: William Zaremba (A.M.) and Nancy Meyer (P.M.); Defense Attorneys:
                        Phillip Linder (1), James Lee Bright (1), Edward Tarpley (1), Stanley Woodward
                        (2), Juli Haller (2), Bradford Geyer (3), Jonathan Crisp (4), and David Fischer (10);
                        US Attorneys: Jeffrey Nestler, Kathryn Rakoczy, Alexandra Hughes, Troy Edwards,
                        and Louis Manzo; Defense Witnesses: Thomas Caldwell, B.D., R.D.W. (zjd)
                        (Entered: 11/15/2022)
11/16/2022              Minute Entry for proceedings held before Judge Amit P. Mehta: Jury Trial as to
                        ELMER STEWART RHODES, III (1), KELLY MEGGS (2), KENNETH
                        HARRELSON (3), JESSICA WATKINS (4), THOMAS EDWARD CALDWELL
                        (10) held on 11/16/2022. Same twelve (12) jurors and three (3) alternates. Jury Trial
                        shall resume on 11/17/2022 at 9:00 AM in Courtroom 23 before Judge Amit P.
                        Mehta. Bond Status of Defendants: Rhodes (1) remains in-custody, Meggs (2)
                        remains in-custody, Harrelson (3) remains in-custody, Watkins (4) remains in-
                        custody, and Caldwell (10) remains on personal recognizance; Court Reporters:
                        William Zaremba (A.M.) and Lorraine Herman (P.M.); Defense Attorneys: Phillip
                        Linder (1), James Lee Bright (1), Edward Tarpley (1), Stanley Woodward (2), Juli
                        Haller (2), Bradford Geyer (3), Jonathan Crisp (4), and David Fischer (10); US
                        Attorneys: Jeffrey Nestler, Kathryn Rakoczy, Alexandra Hughes, Troy Edwards, and
                        Louis Manzo; Defense Witnesses: Thomas Caldwell, J.C.K., Jessica Watkins. (zjd)
                        (Entered: 11/16/2022)
11/17/2022         393 MOTION in Limine Precluding Certain Arguments During Closing Arguments by
                       USA as to KENNETH HARRELSON, THOMAS EDWARD CALDWELL.
                       (Manzo, Louis) (Entered: 11/17/2022)
11/17/2022              Minute Entry for proceedings held before Judge Amit P. Mehta: Jury Trial as to
                        ELMER STEWART RHODES, III (1), KELLY MEGGS (2), KENNETH
                        HARRELSON (3), JESSICA WATKINS (4), and THOMAS EDWARD
                        CALDWELL (10) held on 11/17/2022. The juror in seat 16 (Juror #0910) was
                        excused and replaced by an alternate juror. Twelve (12) jurors and two (2) alternates
                        now remain. The defendants rest their cases. The Government rests its rebuttal case.
                        Closing Arguments set for 11/18/2022 at 9:00 AM in Courtroom 23 before Judge
                        Amit P. Mehta. Bond Status of Defendants: Rhodes (1) remains in-custody, Meggs
                        (2) remains in-custody, Harrelson (3) remains in-custody, Watkins (4) remains in-
                        custody, and Caldwell (10) remains on personal recognizance; Court Reporters:
                        William Zaremba; Defense Attorneys: Phillip Linder (1), James Lee Bright (1),
                        Edward Tarpley (1), Stanley Woodward (2), Juli Haller (2), Bradford Geyer (3),
                        Jonathan Crisp (4), and David Fischer (10); US Attorneys: Jeffrey Nestler, Kathryn
                        Rakoczy, Alexandra Hughes, Troy Edwards, and Louis Manzo; Defense Witnesses:
                        Jessica Watkins and M.W. Government Rebuttal Witnesses: Special Agent Justin
                        Eller and Special Agent Kelsey Harris. (zjd) (Entered: 11/17/2022)
11/18/2022         396 FINAL JURY INSTRUCTIONS as to Defendants ELMER STEWART RHODES,
                       III, KELLY MEGGS, KENNETH HARRELSON, JESSICA WATKINS, and
             Case 1:22-cr-00015-APM Document 669 Filed 07/14/23 Page 37 of 55
                          THOMAS EDWARD CALDWELL. (lcapm1) (Entered: 11/18/2022)
11/18/2022              Minute Entry for proceedings held before Judge Amit P. Mehta: Jury Trial/Closing
                        Arguments as to ELMER STEWART RHODES, III (1), KELLY MEGGS (2),
                        KENNETH HARRELSON (3), JESSICA WATKINS (4), and THOMAS EDWARD
                        CALDWELL (10) held on 11/18/2022. Same twelve (12) jurors and two (2)
                        alternate jurors. Closing Arguments shall resume on 11/21/2022 at 8:45 AM in
                        Courtroom 23 before Judge Amit P. Mehta. Bond Status of Defendants: Rhodes (1)
                        remains in-custody, Meggs (2) remains in-custody, Harrelson (3) remains in-
                        custody, Watkins (4) remains in-custody, and Caldwell (10) remains on personal
                        recognizance; Court Reporters: William Zaremba (A.M.) and Jeff Hook (P.M.);
                        Defense Attorneys: Phillip Linder (1), James Lee Bright (1), Edward Tarpley (1),
                        Stanley Woodward (2), Juli Haller (2), Bradford Geyer (3), Jonathan Crisp (4), and
                        David Fischer (10); US Attorneys: Jeffrey Nestler, Kathryn Rakoczy, Alexandra
                        Hughes, Troy Edwards, and Louis Manzo. (zjd) (Entered: 11/21/2022)
11/20/2022         398 RESPONSE by KENNETH HARRELSON re 393 MOTION in Limine Precluding
                       Certain Arguments During Closing Arguments (Geyer, Bradford) (Entered:
                       11/20/2022)
11/21/2022              Minute Entry for proceedings held before Judge Amit P. Mehta: Jury Trial/Closing
                        Arguments as to ELMER STEWART RHODES, III (1), KELLY MEGGS (2),
                        KENNETH HARRELSON (3), JESSICA WATKINS (4), and THOMAS EDWARD
                        CALDWELL (10) held on 11/21/2022. Same twelve (12) jurors and two (2)
                        alternates. Closing arguments made. Alternate jurors excused. Jury Deliberation set
                        for 11/22/2022 at 9:30 AM. Any proceedings shall take place in Courtroom 23
                        before Judge Amit P. Mehta. Bond Status of Defendants: Rhodes (1) remains in-
                        custody, Meggs (2) remains in-custody, Harrelson (3) remains in-custody, Watkins
                        (4) remains in-custody, and Caldwell (10) remains on personal recognizance; Court
                        Reporter: William Zaremba; Defense Attorneys: Phillip Linder (1), James Lee
                        Bright (1), Edward Tarpley (1), Stanley Woodward (2), Juli Haller (2), Bradford
                        Geyer (3), Jonathan Crisp (4), and David Fischer (10); US Attorneys: Jeffrey
                        Nestler, Kathryn Rakoczy, Alexandra Hughes, Troy Edwards, and Louis Manzo.
                        (zjd) (Entered: 11/21/2022)
11/21/2022         400 Final Jury Instructions as to ELMER STEWART RHODES, III (1), KELLY
                       MEGGS (2), KENNETH HARRELSON (3), JESSICA WATKINS (4), and
                       THOMAS EDWARD CALDWELL (10). (zjd) (Entered: 11/21/2022)
11/22/2022              Minute Entry for proceedings held before Judge Amit P. Mehta: Jury Deliberation as
                        to ELMER STEWART RHODES, III (1), KELLY MEGGS (2), KENNETH
                        HARRELSON (3), JESSICA WATKINS (4), THOMAS EDWARD CALDWELL
                        (10) held on 11/22/2022. Same twelve (12) jurors. Jury Deliberation shall resume on
                        11/28/2022 at 9:30 AM. Any proceedings shall take place in Courtroom 23 before
                        Judge Amit P. Mehta. Bond Status of Defendants: Rhodes (1) remains in-custody,
                        Meggs (2) remains in-custody, Harrelson (3) remains in-custody, Watkins (4)
                        remains in-custody, and Caldwell (10) remains on personal recognizance. (zjd)
                        (Entered: 11/23/2022)
11/27/2022              NOTICE OF HEARING as to ELMER STEWART RHODES, III (1), KELLY
                        MEGGS (2), KENNETH HARRELSON (3), JESSICA WATKINS (4), and
                        THOMAS EDWARD CALDWELL (10): Hearing set for 11/28/2022 at 9:15 AM in
                        Courtroom 23 before Judge Amit P. Mehta. (zjd) (Entered: 11/27/2022)
11/28/2022              Minute Entry for proceedings held before Judge Amit P. Mehta: Jury Deliberation as
                        to ELMER STEWART RHODES, III (1), KELLY MEGGS (2), KENNETH
                        HARRELSON (3), JESSICA WATKINS (4), and THOMAS EDWARD
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                          CALDWELL (10) held on 11/28/2022. Same twelve (12) jurors. Jury Deliberation
                          shall resume on 11/29/2022 at 9:30 AM. Any proceedings shall take place in
                          Courtroom 23 before Judge Amit P. Mehta. Bond Status of Defendants: Rhodes (1)
                          remains in-custody, Meggs (2) remains in-custody, Harrelson (3) remains in-
                          custody, Watkins (4) remains in-custody, and Caldwell (10) remains on personal
                          recognizance; Court Reporter: William Zaremba; Defense Attorneys: Phillip Linder
                          (1), James Lee Bright (1), Edward Tarpley (1), Stanley Woodward (2), Juli Haller
                          (2), Bradford Geyer (3), Jonathan Crisp (4), and David Fischer (10); US Attorneys:
                          Jeffrey Nestler, Kathryn Rakoczy, Alexandra Hughes, and Troy Edwards. (zjd)
                          (Entered: 11/28/2022)
11/28/2022           405 Jury Note as to ELMER STEWART RHODES, III (1), KELLY MEGGS (2),
                         KENNETH HARRELSON (3), JESSICA WATKINS (4), and THOMAS EDWARD
                         CALDWELL (10). (zjd) (Entered: 11/28/2022)
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                           as to ELMER STEWART RHODES, III, KELLY MEGGS, KENNETH
                           HARRELSON, JESSICA WATKINS, THOMAS EDWARD CALDWELL in Jury
                           Note. (Access to the PDF Document is restricted pursuant to the E-Government Act.
                           Access is limited to Counsel of Record and the Court.) (zjd) (Entered: 11/28/2022)
11/29/2022                 Minute Entry for proceedings held before Judge Amit P. Mehta: Jury Deliberation as
                           to ELMER STEWART RHODES, III (1), KELLY MEGGS (2), KENNETH
                           HARRELSON (3), JESSICA WATKINS (4), and THOMAS EDWARD
                           CALDWELL (10) held on 11/29/2022. Same twelve (12) jurors. As to Defendant
                           Rhodes (1): Jury Verdict of Guilty on Counts 1s, 3s, and 7s; Jury Verdict of Not
                           Guilty on Counts 2s and 4s. As to Defendant Meggs (2): Jury Verdict of Guilty on
                           Counts 1s, 2s, 3s, 4s, and 8s; Jury Verdict of Not Guilty on Count 5s. As to
                           Defendant Harrelson (3): Jury Verdict of Guilty on Counts 3s, 4s, and 9s; Jury
                           Verdict of Not Guilty on Count 1s, 2s, and 5s. As to Defendant Watkins (4): Jury
                           Verdict of Guilty on Counts 2s, 3s, 4s, and 6s; Jury Verdict of Not Guilty on Counts
                           1s and 5s. As to Defendant Caldwell (10): Jury Verdict of Guilty on Counts 3s and
                           13s; Jury Verdict of Not Guilty on Counts 1s, 2s, and 4s. Government's Oral Motion
                           to detain Defendant Caldwell was heard and denied for the reasons stated on the
                           record. Defendant Caldwell shall be placed on location monitoring and shall be
                           subject to the conditions of release imposed by the Court during the bond hearing on
                           March 12, 2021 in case no. 21-cr-28 (APM). Defendant Harrelson's Oral Motion for
                           Release was heard and denied. Defendant Watkins' Oral Motion for Release was
                           heard and denied. The parties shall meet and confer and provide Judge Mehta's
                           courtroom deputy with potential dates for sentencing. Bond Status of Defendants:
                           Rhodes (1) remains in-custody, Meggs (2) remains in-custody, Harrelson (3)
                           remains in-custody, Watkins (4) remains in-custody, and Caldwell (10) remains on
                           personal recognizance; Court Reporter: William Zaremba; Defense Attorneys:
                           James Lee Bright (1), Edward Tarpley (1), Stanley Woodward (2), Juli Haller (2),
                           Bradford Geyer (3), Jonathan Crisp (4), and David Fischer (10); US Attorneys:
                           Jeffrey Nestler, Kathryn Rakoczy, Alexandra Hughes, Troy Edwards, and Louis
                           Manzo. (zjd) (Entered: 11/30/2022)
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                           as to ELMER STEWART RHODES, III, KELLY MEGGS, KENNETH
                           HARRELSON, JESSICA WATKINS, THOMAS EDWARD CALDWELL in Jury
                           Note. (Access to the PDF Document is restricted pursuant to the E-Government Act.
                           Access is limited to Counsel of Record and the Court.) (zjd) (Entered: 11/30/2022)
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11/29/2022         410 VERDICT FORM as to ELMER STEWART RHODES, III (1), KELLY MEGGS
                       (2), KENNETH HARRELSON (3), JESSICA WATKINS (4), and THOMAS
                       EDWARD CALDWELL (10). (zjd) (Entered: 11/30/2022)
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                        as to ELMER STEWART RHODES, III, KELLY MEGGS, KENNETH
                        HARRELSON, JESSICA WATKINS, THOMAS EDWARD CALDWELL in Jury
                        Verdict. (Access to the PDF Document is restricted pursuant to the E-Government
                        Act. Access is limited to Counsel of Record and the Court.) (zjd) (Entered:
                        11/30/2022)
11/30/2022         412 Supplemental Jury Instruction as to ELMER STEWART RHODES, III (1), KELLY
                       MEGGS (2), KENNETH HARRELSON (3), JESSICA WATKINS (4), and
                       THOMAS EDWARD CALDWELL (10). (lcapm3) (Entered: 11/30/2022)
12/02/2022         415 Application for Access to Trial Exhibits by PRESS COALITION as to ELMER
                       STEWART RHODES, III, KELLY MEGGS, KENNETH HARRELSON, JESSICA
                       WATKINS, JOSHUA JAMES, ROBERTO A. MINUTA, JOSEPH HACKETT,
                       DAVID MOERSCHEL, BRIAN ULRICH, THOMAS EDWARD CALDWELL,
                       EDWARD VALLEJO. (zltp) (Entered: 12/05/2022)
12/11/2022              MINUTE ORDER. At the parties' request, the schedule for post-trial briefing shall
                        be as follows: The defendants' combined Rule 33 and supplemental Rule 29 motion
                        is due on or before December 23, 2022. The government's opposition shall be filed
                        on or before January 13, 2023. Defendants' reply shall be due on or before January
                        20, 2023. Signed by Judge Amit P. Mehta on 12/11/2022. (lcapm3) (Entered:
                        12/11/2022)
12/12/2022              MINUTE ORDER granting The Press Coalition's 415 Motion to Access Trial
                        Exhibits. Per the court's prior instructions set forth in 327 , upon request, the
                        admitting party shall make available to the media at the end of each trial day a copy
                        of any admitted exhibit that has been published to the jury and not restricted by the
                        court for dissemination. The government may make exhibits available using the
                        drop box technical solution described in In re: Media Access to Video Exhibits in
                        Pretrial Hearings During the COVID-19 Pandemic, Standing Order No. 21-28
                        (BAH) (May 14, 2021). The admitting party shall so provide this same-day access
                        to The Press Coalition. The Press Coalition is granted permission to record, copy,
                        download, retransmit, and otherwise further publish the covered trial exhibits.
                        Signed by Judge Amit P. Mehta on 12/06/2022. (lcapm3) (Entered: 12/12/2022)
12/13/2022         424 First MOTION for New Trial Rule 33 and Judgement of Acquital under Rule 29c by
                       KENNETH HARRELSON. (Geyer, Bradford) (Entered: 12/13/2022)
12/22/2022         429 Emails re Jury Instructions as to ELMER STEWART RHODES, III (1), KELLY
                       MEGGS (2), KENNETH HARRELSON (3), JESSICA WATKINS (4), THOMAS
                       EDWARD CALDWELL (10). The redacted portions of these emails are chambers
                       correspondence. (zjd) (Entered: 12/22/2022)
12/22/2022         430 Emails re Government Admissions as to ELMER STEWART RHODES, III (1),
                       KELLY MEGGS (2), KENNETH HARRELSON (3), JESSICA WATKINS (4),
                       THOMAS EDWARD CALDWELL (10). The redacted portions of these emails are
                       chambers correspondence. (zjd) (Entered: 12/22/2022)
12/22/2022         431 Miscellaneous Emails re Jury Trial as to ELMER STEWART RHODES, III (1),
                       KELLY MEGGS (2), KENNETH HARRELSON (3), JESSICA WATKINS (4),
             Case 1:22-cr-00015-APM Document 669 Filed 07/14/23 Page 40 of 55
                          THOMAS EDWARD CALDWELL (10). The redacted portions of these emails are
                          chambers correspondence. (zjd) (Entered: 12/22/2022)
12/23/2022               MINUTE ORDER as to ELMER STEWART RHODES, III (1), KELLY MEGGS
                         (2), KENNETH HARRELSON (3), JESSICA WATKINS (4), and THOMAS
                         EDWARD CALDWELL (10). The court hereby refers Defendants Rhodes, Meggs,
                         Watkins, Harrelson, and Caldwell to the U.S. Probation Office for preparation of
                         pre-sentence investigation reports. The final report for each defendant shall be due
                         on April 21, 2023. Sentencing memoranda as to each defendant shall be filed by
                         May 5, 2023, with any reply memorandum of no more than 15 pages filed by May
                         15, 2023. Counsel shall keep their schedules open from May 24-26, 2023. The court
                         will determine the sequence of hearings after receiving the opening sentencing
                         memoranda. Signed by Judge Amit P. Mehta on 12/23/2022. (zjd) (Entered:
                         12/23/2022)
12/23/2022          432 Joint MOTION for Judgment NOV judgment of acquittal by JESSICA WATKINS
                        as to ELMER STEWART RHODES, III, KELLY MEGGS, KENNETH
                        HARRELSON, JESSICA WATKINS, THOMAS EDWARD CALDWELL. (Crisp,
                        Jonathan) (Entered: 12/23/2022)
12/23/2022          433 First MOTION for New Trial , First MOTION for Judgment NOV by KENNETH
                        HARRELSON as to ELMER STEWART RHODES, III, KELLY MEGGS,
                        KENNETH HARRELSON, JESSICA WATKINS, JOSHUA JAMES, ROBERTO A.
                        MINUTA, JOSEPH HACKETT, DAVID MOERSCHEL, BRIAN ULRICH,
                        THOMAS EDWARD CALDWELL, EDWARD VALLEJO. (Attachments: # 1
                        Memorandum in Support)(Geyer, Bradford) (Entered: 12/23/2022)
12/23/2022          434 MOTION for New Trial by KELLY MEGGS as to ELMER STEWART RHODES,
                        III, KELLY MEGGS, KENNETH HARRELSON, JESSICA WATKINS, THOMAS
                        EDWARD CALDWELL. (Attachments: # 1 Text of Proposed Order)(Woodward,
                        Stanley) (Entered: 12/23/2022)
12/31/2022          435 Joint MOTION for Leave to File Amended Memorandum in Support of Defendants
                        R 29 Motion for Acquittal by KELLY MEGGS as to ELMER STEWART RHODES,
                        III, KELLY MEGGS, KENNETH HARRELSON, JESSICA WATKINS, THOMAS
                        EDWARD CALDWELL. (Attachments: # 1 Exhibit A, Amended Memorandum of
                        Points and Authorities, # 2 Text of Proposed Order)(Haller, Juli) (Entered:
                        12/31/2022)
01/03/2023               MINUTE ORDER granting 435 Motion for Leave to File Amended Memorandum
                         in Support of Defendants' Rule 29 Motion as to ELMER STEWART RHODES III
                         (1), KELLY MEGGS (2), KENNETH HARRELSON (3), JESSICA WATKINS (4),
                         and THOMAS EDWARD CALDWELL (10). Signed by Judge Amit P. Mehta on
                         01/03/2023. (lcapm3) (Entered: 01/03/2023)
01/13/2023          440 Memorandum in Opposition by USA as to ELMER STEWART RHODES, III,
                        KELLY MEGGS, KENNETH HARRELSON, JESSICA WATKINS, THOMAS
                        EDWARD CALDWELL re 432 Motion for Judgment NOV, 435 Motion for Leave
                        to File, (Rakoczy, Kathryn) (Entered: 01/13/2023)
01/13/2023          441 Memorandum in Opposition by USA as to KENNETH HARRELSON re 424
                        Motion for New Trial, 433 Motion for New Trial,, Motion for Judgment NOV,
                        (Rakoczy, Kathryn) (Entered: 01/13/2023)
01/13/2023          442 Memorandum in Opposition by USA as to ELMER STEWART RHODES, III,
                        KELLY MEGGS, KENNETH HARRELSON, JESSICA WATKINS, THOMAS
             Case 1:22-cr-00015-APM Document 669 Filed 07/14/23 Page 41 of 55
                          EDWARD CALDWELL re 434 Motion for New Trial (Rakoczy, Kathryn) (Entered:
                          01/13/2023)
01/17/2023          443 Unopposed MOTION for Extension of Time to File Response/Reply by ELMER
                        STEWART RHODES, III, KELLY MEGGS, KENNETH HARRELSON, JESSICA
                        WATKINS, THOMAS EDWARD CALDWELL as to ELMER STEWART
                        RHODES, III, KELLY MEGGS, KENNETH HARRELSON, JESSICA WATKINS,
                        JOSHUA JAMES, ROBERTO A. MINUTA, JOSEPH HACKETT, DAVID
                        MOERSCHEL, BRIAN ULRICH, THOMAS EDWARD CALDWELL, EDWARD
                        VALLEJO. (Attachments: # 1 Text of Proposed Order)(Fischer, David) (Entered:
                        01/17/2023)
01/17/2023               MINUTE ORDER granting Defendants' 443 Unopposed Motion for Extension of
                         Time to File Consolidated Reply as to Motion for Judgment of Acquittal and Motion
                         for New Trial. Defendants' Reply shall now be filed on or before January 24, 2023.
                         Signed by Judge Amit P. Mehta on 01/17/2023. (lcapm3) (Entered: 01/17/2023)
01/24/2023          459 NOTICE of Joinder Out of Abundance of Caution Regarding ECF 432 by
                        KENNETH HARRELSON as to ELMER STEWART RHODES, III, KELLY
                        MEGGS, KENNETH HARRELSON, JESSICA WATKINS, JOSHUA JAMES,
                        ROBERTO A. MINUTA, JOSEPH HACKETT, DAVID MOERSCHEL, BRIAN
                        ULRICH, THOMAS EDWARD CALDWELL, EDWARD VALLEJO re 432 Joint
                        MOTION for Judgment NOV judgment of acquittal (Geyer, Bradford) (Entered:
                        01/24/2023)
01/24/2023          460 REPLY TO OPPOSITION to Motion by KENNETH HARRELSON re 433 First
                        MOTION for New Trial First MOTION for Judgment NOV (Geyer, Bradford)
                        (Entered: 01/24/2023)
01/24/2023          461 SUPPLEMENT by KENNETH HARRELSON re 432 Joint MOTION for Judgment
                        NOV judgment of acquittal supplement to tonight's filing by Ms. Haller (Geyer,
                        Bradford) (Entered: 01/24/2023)
01/24/2023          462 REPLY TO OPPOSITION to Motion by KELLY MEGGS as to ELMER STEWART
                        RHODES, III, KELLY MEGGS, KENNETH HARRELSON, JESSICA WATKINS,
                        THOMAS EDWARD CALDWELL re 432 Joint MOTION for Judgment NOV
                        judgment of acquittal, 435 Joint MOTION for Leave to File Amended Memorandum
                        in Support of Defendants R 29 Motion for Acquittal , REPLY in Support by KELLY
                        MEGGS as to ELMER STEWART RHODES, III, KELLY MEGGS, KENNETH
                        HARRELSON, JESSICA WATKINS, THOMAS EDWARD CALDWELL re 435
                        Joint MOTION for Leave to File Amended Memorandum in Support of Defendants
                        R 29 Motion for Acquittal (Haller, Juli) (Entered: 01/24/2023)
01/24/2023          463 REPLY in Support by KELLY MEGGS as to ELMER STEWART RHODES, III,
                        KELLY MEGGS, KENNETH HARRELSON, JESSICA WATKINS, THOMAS
                        EDWARD CALDWELL re 434 MOTION for New Trial Jointly filed (Haller, Juli)
                        (Entered: 01/24/2023)
02/01/2023          467 OMNIBUS ORDER FOR REMAINING POST-TRIAL FILINGS AND
                        PROCEEDINGS as to ELMER STEWART RHODES, III, KELLY MEGGS,
                        KENNETH HARRELSON, JESSICA WATKINS, ROBERTO A. MINUTA,
                        JOSEPH HACKETT, DAVID MOERSCHEL, THOMAS EDWARD CALDWELL,
                        and EDWARD VALLEJO. Please see attached Order. Signed by Judge Amit P.
                        Mehta on 02/01/2023. (lcapm3) (Entered: 02/01/2023)
02/02/2023               Set/Reset Hearings as to KENNETH HARRELSON (3): Sentencing set for
                         5/26/2023 at 1:30 PM in Courtroom 10 before Judge Amit P. Mehta. (zjd) (Entered:
             Case 1:22-cr-00015-APM       Document 669        Filed 07/14/23     Page 42 of 55
                          02/02/2023)
02/02/2023                Set/Reset Hearings as to ELMER STEWART RHODES, III (1), KELLY MEGGS
                          (2), KENNETH HARRELSON (3), JESSICA WATKINS (4), ROBERTO A.
                          MINUTA (6), JOSEPH HACKETT (7), DAVID MOERSCHEL (8), THOMAS
                          EDWARD CALDWELL (10), and EDWARD VALLEJO (11): Hearing to Resolve
                          Sentencing Issues set for 5/24/2023 at 9:30 AM in Courtroom 10 before Judge Amit
                          P. Mehta. (zjd) (Entered: 02/02/2023)
02/02/2023          468 AMENDED OMNIBUS ORDER FOR REMAINING POST-TRIAL FILINGS
                        AND PROCEEDINGS as to ELMER STEWART RHODES, III, KELLY MEGGS,
                        KENNETH HARRELSON, JESSICA WATKINS, ROBERTO A. MINUTA,
                        JOSEPH HACKETT, DAVID MOERSCHEL, THOMAS EDWARD CALDWELL,
                        and EDWARD VALLEJO. Please see attached Order for amended schedule. Signed
                        by Judge Amit P. Mehta on 02/02/2023. (lcapm3) (Entered: 02/02/2023)
03/24/2023                MINUTE ORDER granting 487 United States' Unopposed Motion for Extension of
                          Deadline to File Opposition to Defendants' Rule 29 and 33 Motions. The
                          government's response to the November Trial Groups motions shall be filed by April
                          3, 2023, and any reply shall be filed by April 12, 2023. Signed by Judge Amit P.
                          Mehta on 03/24/2023. (lcapm3) (Entered: 03/24/2023)
03/29/2023          496 MOTION to Continue Sentencing and all Related Deadlines (redacted) as to
                        ELMER STEWART RHODES, III. (This document is SEALED and only available
                        to authorized persons.) (Attachments: # 1 Text of Proposed Order)(Linder, Phillip)
                        Modified to unseal document on 4/3/2023 (zjd). (Entered: 03/29/2023)
04/02/2023          511 NOTICE of JOINDER by EDWARD VALLEJO as to ELMER STEWART
                        RHODES, III, KELLY MEGGS, KENNETH HARRELSON, JESSICA WATKINS,
                        JOSHUA JAMES, ROBERTO A. MINUTA, JOSEPH HACKETT, DAVID
                        MOERSCHEL, BRIAN ULRICH, THOMAS EDWARD CALDWELL, EDWARD
                        VALLEJO re 478 MOTION pursuant to Rule 33 for new trial , 479 MOTION for
                        Acquittal , 493 MOTION for Leave to File Motion under Seal, 482 MOTION to
                        Continue SENTENCING DATE (Peed, Matthew) (Entered: 04/02/2023)
04/03/2023          513 Notice of Joinder by KENNETH HARRELSON re: 496 Motion to Continue
                        Sentencing Deadlines (Geyer, Bradford) Modified text on 4/4/2023 (zltp). (Entered:
                        04/03/2023)
04/10/2023          519 ORDER denying 496 Motion to Continue Sentencing; denying 498 Motion to
                        Continue as to KELLY MEGGS (2); denying 482 Motion to Continue as to
                        ROBERTO A. MINUTA (6). Please see attached Order. The court will extend the
                        partiea' response date to the draft PSR from April 7, 2023, to April 14, 2023, and the
                        due date of the final PSR to April 28, 2023. All other deadlines shall remain the
                        same. Signed by Judge Amit P. Mehta on 04/10/2023. (lcapm3) (Entered:
                        04/10/2023)
05/04/2023          561 First MOTION for Extension of Time to File Sentencing memo to May 8 by
                        KENNETH HARRELSON (Geyer, Bradford) Modified text to remove unassociated
                        defendants on 5/31/2023 (zltp). (Entered: 05/04/2023)
05/05/2023                MINUTE ORDER granting Defendant KENNETH HARRELSON's 561 Motion to
                          Extend Deadline for Filing Sentencing Memo to May 8. Defendant KENNETH
                          HARRELSON's sentencing memorandum shall now be due on or before May 8,
                          2023. Signed by Judge Amit P. Mehta on 5/5/2023. (lcapm2) (Entered: 05/05/2023)
05/05/2023          565 SENTENCING MEMORANDUM by USA as to ELMER STEWART RHODES,
                        III, KELLY MEGGS, KENNETH HARRELSON, JESSICA WATKINS, ROBERTO
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                          A. MINUTA, JOSEPH HACKETT, DAVID MOERSCHEL, THOMAS EDWARD
                          CALDWELL, EDWARD VALLEJO (Edwards, Troy) (Entered: 05/05/2023)
05/05/2023         604 MOTION for Upward Departure by USA as to ELMER STEWART RHODES, III,
                       KELLY MEGGS, KENNETH HARRELSON, JESSICA WATKINS, ROBERTO A.
                       MINUTA, JOSEPH HACKETT, DAVID MOERSCHEL, THOMAS EDWARD
                       CALDWELL, EDWARD VALLEJO. (See docket entry 565 to view document.)
                       (zltp) (Entered: 05/31/2023)
05/09/2023         573 SENTENCING MEMORANDUM by KENNETH HARRELSON (Geyer,
                       Bradford) Modified text to remove unassociated defendants on 5/31/2023 (zltp).
                       (Entered: 05/09/2023)
05/15/2023         580 REPLY by USA as to ELMER STEWART RHODES, III, KELLY MEGGS,
                       KENNETH HARRELSON, JESSICA WATKINS, ROBERTO A. MINUTA,
                       JOSEPH HACKETT, DAVID MOERSCHEL, THOMAS EDWARD CALDWELL,
                       EDWARD VALLEJO Sentencing Memoranda (Edwards, Troy) (Entered:
                       05/15/2023)
05/15/2023         582 REPLY by KENNETH HARRELSON (Attachments: # 1 Exhibit Attachment A)
                       (Geyer, Bradford) Modified text to remove unassociated defendants on 5/31/2023
                       (zltp). (Entered: 05/15/2023)
05/16/2023         583 ERRATA by KENNETH HARRELSON re: 582 REPLY (Attachments: # 1 Exhibit
                       Attachment A)(Geyer, Bradford) Modified text to remove unassociated defendants
                       and include link on 5/31/2023 (zltp). (Entered: 05/16/2023)
05/22/2023         592 ORDER. At the Omnibus Hearing scheduled for Wednesday, May 24 at 9:30 a.m. in
                       Courtroom 20, counsel shall be prepared to proceed according to the following
                       schedule: 1.First, the court will hear any victim impact statements or testimony
                       applicable to all defendants. 2.Second, the court will deliver its opinion on
                       outstanding post-trial motions. 3.Third, the court will hear legal arguments
                       regarding the sentencing enhancements and restitution issues. If time permits, the
                       court may hear argument about the factual bases for sentencing enhancements with
                       respect to particular defendants. See attached Order. Signed by Judge Amit P. Mehta
                       on 05/22/2023. (lcapm3) (Entered: 05/22/2023)
05/23/2023              NOTICE OF HEARING as to ELMER STEWART RHODES, III (1), KELLY
                        MEGGS (2), KENNETH HARRELSON (3), JESSICA WATKINS (4), ROBERTO
                        A. MINUTA (6), JOSEPH HACKETT (7), DAVID MOERSCHEL (8), THOMAS
                        EDWARD CALDWELL (10), and EDWARD VALLEJO (11): The Omnibus
                        Hearing set for May 24, 2023 at 9:30 AM shall proceed in Ceremonial Courtroom
                        20. All sentencings will proceed in Courtroom 10. (zjd) (Entered: 05/23/2023)
05/23/2023              MINUTE ORDER. At the Omnibus hearing scheduled for tomorrow, May 24, 2023,
                        the government and counsel for Mr. Hackett should be prepared to address what the
                        evidence showed with respect to: (1) on or about which date Mr. Hackett deleted the
                        media from his phone that formed the basis for the obstruction count, and (2) what
                        evidence would establish that it was reasonably foreseeable to Mr. Hackett that, as
                        of that date, there would be a grand jury proceeding investigating his conduct.
                        Signed by Judge Amit P. Mehta on 05/23/2023. (lcapm3) (Entered: 05/23/2023)
05/24/2023              Minute Entry for proceedings held before Judge Amit P. Mehta: Omnibus Hearing
                        as to ELMER STEWART RHODES, III (1), KELLY MEGGS (2), KENNETH
                        HARRELSON (3), JESSICA WATKINS (4), ROBERTO A. MINUTA (6), JOSEPH
                        HACKETT (7), DAVID MOERSCHEL (8), THOMAS EDWARD CALDWELL
                        (10), and EDWARD VALLEJO (11) held on 5/24/2023. Defendants Minuta,
             Case 1:22-cr-00015-APM Document 669 Filed 07/14/23 Page 44 of 55
                          Hackett, Moerschel, Caldwell, and Vallejo appeared via videoconference. Bond
                          Status of Defendant: Defendants Rhodes (1), Meggs (2), Harrelson (3), and Watkins
                          (4) remain in-custody, Defendants Minuta (6), Hackett (7), Moerschel (8), Caldwell
                          (10), and Vallejo (11) remain on personal recognizance; Court Reporter: William
                          Zaremba; Defense Attorneys: Phillip Linder (1), James Lee Bright (1), Edward
                          Tarpley, Jr. (1), Stanley Woodward (2), Bradford Geyer (3), Jonathan Crisp (4),
                          William Shipley (6), Angela Halim (7), Scott Weinberg (8), David Fischer (10), and
                          Matthew Peed (11); US Attorneys: Kathryn Rakoczy, Jeffrey Nestler, Alexandra
                          Hughes, Troy Edwards, Louis Manzo; Probation Officer: Crystal Lustig; Witnesses:
                          Officer Christopher Owens, Special Agent David Lazarus, Officer Harry Dunn,
                          V.B., and Terri McCullough. (zjd) (Entered: 05/24/2023)
05/25/2023                 MINUTE ORDER. For the reasons stated on the record at Mr. Rhodes' sentencing
                           hearing held today, the court concludes that (1) the 3-level enhancement for
                           substantial interference with the administration of justice under 2J1.2(b)(2) is
                           applicable, and (2) under Circuit precedent, control is a necessary element of a role-
                           in-the-offense enhancement under 3B1.1. Signed by Judge Amit P. Mehta on
                           05/25/2023. (lcapm3) (Entered: 05/25/2023)
05/26/2023           602 SUPPLEMENT by KENNETH HARRELSON for Allocution (Attachments: # 1
                         Exhibit, # 2 Exhibit)(Geyer, Bradford) (Entered: 05/26/2023)
05/26/2023                 Minute Entry for proceedings held before Judge Amit P. Mehta: Sentencing held on
                           5/26/2023 as to KENNETH HARRELSON (3). As to Counts 3s, 4s, and 9s of 167
                           Superseding Indictment, the Defendant is sentenced to concurrent terms of 48
                           months of incarceration followed by 24 months of supervised release. Bond Status
                           of Defendant: remains in-custody; Court Reporter: William Zaremba; Defense
                           Attorney: Bradford Geyer; US Attorneys: Kathryn Rakoczy, Jeffrey Nestler,
                           Alexandra Hughes, Troy Edwards, and Louis Manzo; Probation Officer: Sherry
                           Baker. (zjd) (Entered: 05/26/2023)
06/04/2023           610 MOTION for Joinder regarding ECF 541, 521, 479, 478, 477, 463, 462, 434, and
                         420 by KENNETH HARRELSON. (Geyer, Bradford) (Entered: 06/04/2023)
06/05/2023           617 JUDGMENT as to KENNETH HARRELSON. Statement of Reasons Not Included.
                         Signed by Judge Amit P. Mehta on 6/5/2023. (zltp) (Entered: 06/12/2023)
06/05/2023           618 STATEMENT OF REASONS as to KENNETH HARRELSON. re 617 Judgment
                         Access to the PDF Document is restricted per Judicial Conference Policy. Access is
                         limited to Counsel of Record and the Court. Signed by Judge Amit P. Mehta on
                         6/5/2023. (zltp) (Entered: 06/12/2023)
06/06/2023                 MINUTE ORDER. The government shall submit its memorandum and any
                           evidence in support of a restitution award by June 23, 2023; Defendants shall file a
                           consolidated opposition by July 12, 2023; and the government shall file its reply by
                           July 22, 2023. Signed by Judge Amit P. Mehta on 06/06/2023. (lcapm3) (Entered:
                           06/06/2023)
06/06/2023           611 NOTICE OF APPEAL - Final Judgment by KENNETH HARRELSON Fee Status:
                         No Fee Paid. Parties have been notified. (Geyer, Bradford) (Entered: 06/06/2023)
06/06/2023                 Payment for 611 Notice of Appeal - Final Judgment by KENNETH HARRELSON.
                           ($505; Receipt number ADCDC-10120930) (Geyer, Bradford) (Entered:
                           06/06/2023)
06/09/2023           614 NOTICE OF WITHDRAWAL OF APPEARANCE by USA as to ELMER
                         STEWART RHODES, III, KELLY MEGGS, KENNETH HARRELSON, JESSICA
                         WATKINS, JOSHUA JAMES, ROBERTO A. MINUTA, JOSEPH HACKETT,
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                          DAVID MOERSCHEL, BRIAN ULRICH, THOMAS EDWARD CALDWELL,
                          EDWARD VALLEJO (Baset, Ahmed) (Entered: 06/09/2023)
06/12/2023         619 Transmission of the Notice of Appeal, Order Appealed, and Docket Sheet to US
                       Court of Appeals. The Court of Appeals fee was paid as to KENNETH
                       HARRELSON re 611 Notice of Appeal - Final Judgment. (zltp) (Entered:
                       06/12/2023)
06/12/2023         623 Transmitted Supplemental Record on Appeal and Docket Sheet to USCA: Updated
                       Docket Sheet included, as to KENNETH HARRELSON re 611 Notice of Appeal -
                       Final Judgment. (zltp) (Entered: 06/12/2023)
06/13/2023              USCA Case Number as to KENNETH HARRELSON 23-3089 for 611 Notice of
                        Appeal - Final Judgment filed by KENNETH HARRELSON. (zltp) (Entered:
                        07/06/2023)
06/20/2023         636 APPLICATION for Access to Trial Exhibits by CONRAD SMITH as to ELMER
                       STEWART RHODES, III, KELLY MEGGS, KENNETH HARRELSON, JESSICA
                       WATKINS, JOSHUA JAMES, ROBERTO A. MINUTA, JOSEPH HACKETT,
                       DAVID MOERSCHEL, BRIAN ULRICH, THOMAS EDWARD CALDWELL,
                       EDWARD VALLEJO. (Attachments: # 1 Text of Proposed Order)(zhsj) (Entered:
                       06/20/2023)
06/20/2023         637 ORDER granting 636 Motion to Access Trial Exhibits. See attached Order. Signed
                       by Judge Amit P. Mehta on 06/20/2023. (lcapm3) (Entered: 06/20/2023)
06/22/2023         639 Unopposed MOTION for Extension of Time to File Memorandum and Evidence
                       Regarding Restitution by USA as to ELMER STEWART RHODES, III, KELLY
                       MEGGS, KENNETH HARRELSON, JESSICA WATKINS, ROBERTO A.
                       MINUTA, JOSEPH HACKETT, DAVID MOERSCHEL, EDWARD VALLEJO.
                       (Edwards, Troy) (Entered: 06/22/2023)
06/23/2023              MINUTE ORDER granting 639 Unopposed Motion for Extension of Time to File.
                        The government's initial restitution memorandum and evidence is now due on or
                        before July 7, 2023; the defendants' response in opposition is due on or before July
                        26, 2023; and the government's reply is due on or before August 5, 2023. Signed by
                        Judge Amit P. Mehta on 06/23/2023. (lcapm3) (Entered: 06/23/2023)
07/07/2023         654 NOTICE of Brief Regarding Restitution by USA as to ELMER STEWART
                       RHODES, III, KELLY MEGGS, KENNETH HARRELSON, JESSICA WATKINS,
                       ROBERTO A. MINUTA, JOSEPH HACKETT, DAVID MOERSCHEL, EDWARD
                       VALLEJO (Attachments: # 1 Exhibit)(Edwards, Troy) (Entered: 07/07/2023)
07/12/2023         660 NOTICE OF APPEAL - Final Judgment by USA as to KENNETH HARRELSON
                       Fee Status: No Fee Paid. Parties have been notified. (Nestler, Jeffrey) (Main
                       Document 660 flattened & replaced on 7/13/2023.) (ztnr) (Entered: 07/12/2023)
Use Case 1:22-cr-00015-APM             Document 669           Filed 07/14/23                 CO-290
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 Notice of Appeal Criminal                                                                 Rev. 3/88



          United States District Court for the District of Columbia

 UNITED STATES OF AMERICA                           )
                                                    )
                       vs.                          )        Criminal No. 22-cr-15 (APM)
                                                    )
  KENNETH HARRELSON                                 )


                                      NOTICE OF APPEAL


Name and address of appellant:                     United States of America




Name and address of appellant’s attorney:          Jeffrey Nestler, Assistant US Attorney
                                                   Office of the US Attorney for DC
                                                   601 D Street, NW Room 5.1501
                                                   Washington, DC 20253

Offense: 18 USC Secs. 1512(c)(2) and 2; 18 USC Sec, 372; 18 USC Sec. 1512(c)(1)

Concise statement of judgment or order, giving date, and any sentence:
     Sentence imposed on May 26, 2023 (judgment entered on the docket on June 12, 2023), sentencing
     defendant to a term of 48 months' imprisonment on each count, to run concurrently, followed by a
     term of 24 months' supervised release on each count, to run concurrently; assessment of $300.00

Name and institution where now confined, if not on bail: DC Jail/CTF


        I, the above named appellant, hereby appeal to the United States Court of Appeals for the
District of Columbia Circuit from the above-stated judgment.
            July 12, 2023                                    United States of America
 DATE                                               APPELLANT
                                                            Jeffrey Nestler
                                                    ATTORNEY FOR APPELLANT

GOVT. APPEAL, NO FEE         ✔
CJA, NO FEE
PAID USDC FEE
PAID USCA FEE
Does counsel wish to appear on appeal?                          YES            NO ✔
Has counsel ordered transcripts?                                YES ✔          NO
Is this appeal pursuant to the 1984 Sentencing Reform Act?      YES            NO ✔




                                                                                                        1
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